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               EXHIBIT 1
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                                    UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF NEW YORK


      IN RE: FISHER-PRICE ROCK ’N PLAY                        MDL No. 1:19-md-2903
      SLEEPER MARKETING, SALES
      PRACTICES, AND PRODUCTS
      LIABILITY LITIGATION                                    Hon. Geoffrey W. Crawford




                          DECLARATION OF JEANNE C. FINEGAN, APR
                         OF KROLL SETTLEMENT ADMINISTRATION LLC
                    IN CONNECTION WITH FINAL APPROVAL OF SETTLEMENT


                                                  INTRODUCTION

          1.      I am the Managing Director and Head of Kroll Notice Media Solutions (“Kroll Media”), 1

a business unit of Kroll Settlement Administration LLC (“Kroll”), the Settlement Administrator appointed

in the above-captioned Action. This declaration is based upon my personal knowledge as well as

information provided to me by my associates and staff, including information reasonably relied upon in

the fields of advertising media and communications.

          2.      Kroll was appointed as the Settlement Administrator to, among other tasks, develop and

implement a Notice Plan to the Class (the “Notice Plan”) that was reasonably calculated to provide notice

to eligible Claimants in connection with the Settlement.

          3.      I previously provided a declaration in connection with this matter. See ECF No. 349-7,

Declaration of Jeanne C. Finegan, APR Concerning Proposed Notice Plan, filed on July 24, 2024.

          4.      This declaration is submitted in connection with final approval of the Settlement and

provides a report to the Court on the successful implementation of the Notice Plan, which commenced on




1
  Capitalized terms used but not defined herein have the meanings given to them in the Settlement Agreement entered into in
this Action.

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    ADMINISTRATION LLC IN CONNECTION WITH FINAL              -1-                                    CASE NO. 1:19-MD-2903
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September 6, 2024 and was substantially completed on October 9, 2024. As detailed further below, Kroll

has continued and continues to provide Direct Notice to newly identified Settlement Class Members as

well as remail undeliverable notices to updated addresses where available or upon identifying an updated

address through an advanced address search. Through a combination of direct mail and email, online

display and social media advertising, and influencer posting, the Notice Plan is estimated to have reached

over 95% of potential Settlement Class Members, 2 on average 4.5 times.

                                                   BACKGROUND

          5.      Kroll was appointed as the Settlement Administrator to provide notification and claims

administration services in connection with the Settlement Agreement entered into in this Action. Kroll’s

duties in connection with the Settlement have and will include: (a) preparing and sending notices in

connection with the Class Action Fairness Act; (b) receiving and analyzing the Customer Contact

Information from various sources; (c) creating a Settlement Website with online Claim filing capabilities;

(d) establishing a toll-free telephone number; (e) establishing a post office box for the receipt of mail;

(f) preparing and sending the Direct Notice via first-class mail; (g) preparing and sending the Direct Notice

via email; (h) establishing a method to receive and respond to Settlement Class Member emailed inquiries;

(i) implementing a media campaign including online banners, social media ads, key word search,

influencer posts and press releases; (j) receiving and processing mail from the United States Postal Service

(“USPS”) with forwarding addresses; (k) receiving and processing undeliverable mail, without a

forwarding address, from the USPS; (l) receiving and processing Claim Forms; (m) receiving and




2
  As previously detailed in my first declaration, according to Fisher-Price’s manufacturing label, the RNPS products are only
suitable for newborns. Therefore, the closest media definition proxy is parents with children under the age of one. The Notice
Plan therefore focused outreach to an audience of adults who are 25 to 44 years of age, as well as grandparents and, more
generally, women who are over the age of 25. In formulating the targeting assumptions, the Notice Plan was guided by media
research data from MRI-Simmons Research (“MRI”), which reports that nearly 70% of parents who have children living in
their home are between the ages of 25 to 44, and 78% of parents with children under the age of one are 25 to 44 years of age.

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processing Requests for Exclusion; and (n) such other tasks as counsel for the Parties or the Court request

Kroll to perform.

                                  NOTICE PROGRAM AS IMPLEMENTED

                                               THE CAFA MAILING

          6.      As noted above, on behalf of the Defendants, Kroll provided notice of the proposed

Settlement pursuant to the Class Action Fairness Act 28, U.S.C. §1715(b) (“the CAFA Notice”). At the

direction of Counsel for the Defendants, on August 2, 2024, Kroll sent the CAFA Notice identifying the

documents required, a true and correct copy of which is attached hereto as Exhibit A, via first-class

certified mail, to (a) the Attorney General of the United States, (b) the fifty-five (55) state and territorial

Attorneys General identified in the service list for the CAFA Notice, attached hereto as Exhibit B, and

(c) via email to the Nevada Attorney General. The CAFA Notice directed the Attorneys General to the

website www.CAFANotice.com, a site that contains all the documents relating to the Settlement

referenced in the CAFA Notice.

                                            DATA AND CASE SETUP

          7.      On August 16, 2024, Kroll received one (1) data file of Target Customer Contact

Information from Target’s counsel. On August 19, 2024, Kroll received one (1) data file of buybuy BABY

Customer Contact Information from the Plaintiffs. On August 22, 2024, Kroll received four (4) data files

of Mattel Customer Contact Information from the Defendants. Commencing on September 23, 2024, Kroll

began receiving monthly lists from the Defendants of additional recall participants (“Monthly Recall

Participant Lists”), of which five (5) lists have been received to date. 3 Kroll undertook several steps to



3
  On January 8, 2025, counsel for Walmart, another RNPS retailer, provided two (2) data files of customer data. One file
contained 882,100 records for online sales between February 2018 and April 2019. The other file contained 18,155 records for
store sales between April 2018 and August 2019. On January 31, 2025, Walmart’s counsel confirmed that the data provided
was potentially inaccurate and further analysis by Walmart would be required before any further action could commence. Kroll
has not yet received the corrected data.

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reconcile these various lists and compile the eventual “Class List” for Direct Notice. These records were

cleaned, normalized, duplicate records were removed per Customer Contact Information source, and

rolled-up to create the Class List. The Target data file contained 19,825 records from which 100 duplicate

records were removed resulting in 19,725 unique records: 18,845 records with an email address and 880

records with only a mailing address. The buybuy BABY data file contained 200,606 records from which

102,966 duplicate records were removed resulting in 97,640 unique records: 95,894 records with an email

address, 1,744 records with only a mailing address, and two (2) records with neither. The Mattel data files

contained 2,906,193 records from which 1,844,149 duplicate records were removed resulting in 1,062,044

unique records: 821,903 records with an email address, 238,644 records with only a mailing address, and

1,497 records with neither. The first five (5) Monthly Recall Participant Lists contained 3,837 records

from which 2,701 duplicate or previously received records were removed, resulting in 1,136 unique

records with an email address. Once compiled, the Class List contained 1,180,545 unique records: 937,778

records with an email address, 241,268 records with only a mailing address, and 1,499 records with

neither. Additionally, in an effort to ensure that Direct Notices would be deliverable to Settlement Class

Members, Kroll ran the 241,268 mailing records through the USPS’s National Change of Address

(“NCOA”) database and updated the Class List with address changes received from the NCOA. Fifty-four

(54) additional records were removed at that time due to the absence of data for both First Name and Last

Name resulting in 241,214 records for mailing.

       8.      On June 25, 2024, Kroll created a dedicated Settlement Website entitled

www.FisherPriceRockNPlaySettlement.com. The Settlement Website “went live” on September 6, 2024

and contains a summary of the Settlement, important dates and deadlines including the Final Approval

Hearing date, Claims Deadline, and deadlines for submitting Requests for Exclusion or objections, contact

information for the Settlement Administrator, answers to “Frequently Asked Questions,” a “Contact Us”



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feature to receive and reply to email inquiries from Settlement Class Members, downloadable copies of

relevant documents, including the Claim Form, Settlement Agreement, Long Form Notice, and allowed

Settlement Class Members an opportunity to register (as needed) and file a Claim Form online. The

Settlement Website also includes a video and written instructions on how to disable the Rock ‘n Play

Sleeper for those who own the product.

         9.    On June 13, 2024, Kroll established a toll-free telephone number, (833) 522-3524, for

Settlement Class Members to call and obtain additional information regarding the Settlement through an

Interactive Voice Response (“IVR”) system. As of February 20, 2025, the IVR system has received 715

calls.

         10.   On June 14, 2024, Kroll designated a post office box with the mailing address Settlement

Administrator - 83052, c/o Kroll Settlement Administration LLC, PO Box 5324, New York, NY 10150-

5324, in order to receive Requests for Exclusion, Claim Forms, and correspondence from Settlement Class

Members.

                              THE DIRECT MAIL NOTICE PROGRAM

         11.   On September 25, 2024, Kroll sent the Email Notice to the 936,642 email addresses on file

for Settlement Class Members as noted above. A true and correct copy of the Email Notice (including the

subject line) is attached hereto as Exhibit C. Of the 936,642 emails attempted for delivery, 209,628 emails

were undeliverable, out of which 169,568 were rejected and 40,060 bounced back. At counsel’s direction,

Kroll ran the 40,060 bounced emails through an advanced email address search resulting in the

identification of 27,468 new email addresses. On November 1, 2024, Kroll caused the Email Notice to be

sent to 27,468 Settlement Class Members for whom a new email address was available, and 12,423 Direct

Notices to be mailed via first-class mail to those Settlement Class Members for whom emails bounced

back as undeliverable and no new email address was available, but a physical address was available. Of



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the 27,468 emails attempted for delivery to a new email address, 11,049 emails were undeliverable. On

December 23, 2024, Kroll sent the Email Notice to 564 Settlement Class Members included in the first

two (2) Monthly Recall Participants Lists received from the Defendants. On January 31, 2025, Kroll sent

the Email Notice to 572 Settlement Class Members included in the next three (3) Monthly Recall

Participants Lists received from the Defendants.

        12.      On October 23, 2024, Kroll caused 241,214 Direct Notices to be mailed via first-class mail.

A true and correct copy of the Direct Notice, along with the Long Form Notice and Claim Form, are

attached hereto as Exhibits D, E, and F, respectively.

        13.      As of February 20, 2025, 301 Direct Notices were returned by the USPS with a forwarding

address. Of those, 293 Direct Notices were automatically re-mailed to the updated addresses provided by

USPS. The remaining eight (8) were re-mailed by Kroll to the updated address provided by the USPS.

        14.      As of February 10, 2025, 30,006 Direct Notices were returned by the USPS as

undeliverable as addressed, without a forwarding address. Kroll ran 30,004 undeliverable records through

an advanced address search. 4 The advanced address search produced 24,219 updated addresses. Kroll has

re-mailed Direct Notices to the 24,219 updated addresses obtained from the advanced address search. Of

these, 158 re-mailed Direct Notices have been returned by the USPS as undeliverable a second time.

        15.      Based on the foregoing, following all Direct Notice re-mailings, Kroll has reason to believe

that Direct Notices, alone, likely reached 992,261 of the 1,180,545 Settlement Class Members to whom

we provided Direct Notice, or approximately 84.05% of those identified Settlement Class Members.




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  The remaining two (2) undeliverable Direct Notices received to date were received after the most recent advanced address
search was run and therefore those records were not included in the search. If an updated address is obtained through the
advanced address search process, Kroll will re-mail the notice to the updated address.

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                        Direct Notice Program Dissemination & Reach
                                                                    Volume of
                                                                      Class
                                                                                Percentage of
                                                                   Members To
                             Description                                            Class
                                                                  Whom Direct
                                                                                  Members
                                                                   Notice Was
                                                                    Provided
    Settlement Class Members                                        1,180,545         100.0%
                                    Initial Direct Notice Emailing
    (+) Email Notices                                                936,642          79.34%
    (-) Total Email Notices returned as undeliverable               (209,628)         17.76%
                                 Supplemental Direct Notice Emailing
    (+) Supplemental Email Notices                                    27,468           2.33%
    (-) Total Email Notices returned as undeliverable                (11,049)          0.94%
                     Supplemental Direct Notice Emailing to Recall Participants
    (+) Supplemental Email Notices (12/23)                              564            0.05%
    (+) Supplemental Email Notices (01/31)                              572            0.05%
                                         Direct Notice Mailing
    (+) Initial Mailed Notices                                       241,214          20.43%
    (+) Supplemental Mailed Notices (email bounces)                   12,423           1.05%
    (-) Total Mailed Notices returned as undeliverable               (30,006)          2.54%
                                  Supplemental Direct Notice Mailing
    (+) Re-mailed Mailed Notices                                      24,219           2.05%
    (-) Total Mailed Notices returned as undeliverable                 (158)           0.01%
                                    Direct Notice Program Reach
    (=) Received Direct Notice                                       992,261          84.05%

       16.     On January 10, 2025, Kroll was informed by counsel for Amazon that a Direct Notice

campaign was undertaken by them that included Email Notice to their impacted customers. Kroll

understands that Class Counsel will be submitting a declaration from Amazon’s counsel stating that

Amazon provided direct email notice to 846,442 unique email addresses in connection with 952,458

purchases.

                                           REMINDER NOTICE

       17.     December 10, 2024, Kroll sent an email reminder notice to the 400 Settlement Class

Members included in the first two (2) Monthly Recall Participants Lists received from Defendants who

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had not yet submitted a Claim Form. On January 31, 2025, Kroll sent an email reminder notice to the 374

Settlement Class Members included in the next three (3) Monthly Recall Participants Lists received from

Defendants who had not yet submitted a Claim Form. A true and correct copy of the email reminder

notices (including the subject line) are attached hereto as Exhibit G and Exhibit H.

                         PUBLICATION NOTICE - ONLINE DISPLAY ADS

       18.     From September 9, 2024 to October 9, 2024, over 34,453,563 million online and social

media impressions were served in English and Spanish targeting parents of children under the age of one.

Additional impressions targeted all adults 25 to 44 years of age, and women over the age of 25. Further,

online banner ads also appeared contextually within content related to Family & Parenting and Parenting

Babies and Toddlers.

                                           SOCIAL MEDIA ADS

       19.     Social media ads in English and Spanish on Facebook and Instagram targeted those who

have liked, followed or interacted with relevant pages, accounts, videos or posts/tags, including Parents,

CafeMom, BellyBelly, and more generally, Fisher-Price. Also, ads targeted the followers of Instagram

influencers who are parenting experts, mom influencers, infant sleep coaches, as well as numerous

mothers of newborns groups, infant sleeping support groups, pediatricians, and others. Further, additional

social media impressions were targeted at adults 25 to 64 years of age.

       20.     On YouTube: Display ads targeted Fisher-Price channel subscribers, as well as relevant

topics and specific content and channels related to Fisher-Price Rock ‘n Play, infant safe sleep

environment, pregnancy, parenting, new mom related content, and more.

       21.     Social Media Influencers: Kroll tapped social media influencers from 114 child safety and

parenting pages and groups, including Kids In Danger, Safe Infant Sleep, Cribs for Kids, and the

International Association of Child Safety, among others, to share the official social media ad. Social



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sharing resulted in an additional 9,200,000 viral impressions. A true and correct copy of the social media

ad is attached hereto as Exhibit I.

                                           KEYWORD SEARCH

       22.     Kroll Media utilized keyword search advertisements on Google. When searching for

specific keywords or phrases related to the Settlement and the Nationwide Class and Subclass, a sponsored

link appeared providing brief information about the Settlement and the nationwide Settlement Class and

directed the user to the Settlement Website. Such keyword search terms and topics included Fisher-Price,

Fisher-Price Rock ‘n Play sleeper, Fisher-Price Rock ‘n Play recall, Fisher-Price Rock ‘n Play settlement,

Fisher-Price Rock ‘n Play class action, Fisher-Price Rock ‘n Play lawsuit, Fisher-Price Rock ‘n Play

risk, Fisher-Price Rock ‘n Play deaths, and more.

                                             PRESS RELEASE

       23.     On September 6, 2024, a bilingual (English and Spanish) press release was issued over PR

Newswire’s U.S 1 plus Hispanic and Puerto Rico Newslines, with additional targeting to parenting

influencers and pediatricians. The press release generated 361 news mentions in English and 61 news

mentions in Spanish. Attached as Exhibit J is a true and correct copy of the press release and the resulting

pick up reports in English and Spanish.

                                            CLAIM ACTIVITY

       24.     The Claims Deadline is May 29, 2025 or ninety (90) days after the Court enters the Final

Approval Order and Final Judgment, whichever is later.

       25.     As of February 20, 2025, Kroll has received 5,757 Claim Forms through the mail and

1,366,286 Claim Forms filed electronically through the Settlement Website. Pursuant to section III.C.6.




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of the Settlement Agreement, Kroll’s review and validation of submitted Claim Forms is not required to

commence prior to the Effective Date of the Settlement. 5

          26.     To prevent Claim Forms from being filed by individuals outside the Settlement Class and

to curtail fraud, Settlement Class Members who were sent Direct Notice were provided a unique “Unique

Claimant ID” on their respective notices. The Unique Claimant ID is required for Settlement Class

Members to file a Claim Form online. Settlement Class Members without Unique Claimant IDs may

obtain one by registering on the Settlement Website.

                                        EXCLUSIONS AND OBJECTIONS

          27.     The last day to submit a Request for Exclusion or an objection was February 10, 2025.

          28.     As of February 20, 2025, Kroll has received three (3) timely Request for Exclusion. A list

of the Requests for Exclusion is attached hereto as Exhibit K. Settlement Class Members were not

instructed to submit their objection to the Settlement Administrator, and none have been directly received

by Kroll.

                                                     CONCLUSION

          29.     In my opinion, this robust Notice Plan, which included a combination of direct mail and

email notice, online display and social media advertising, social influencer and press releases reflects a

highly contemporary way to provide notice to Settlement Class Members and is estimated to have reached

more than 95% of the targeted audience, i.e. Settlement Class Members, approximately 4.5 times on

average.




5
 The Effective Date of the Settlement is defined in the Settlement Agreement as the day following the expiration of the deadline
to appeal the Final Approval Order and/or Final Judgment, or if an appeal is filed, the date on which all appellate courts with
jurisdiction affirm such Final Approval Order and/or Final Judgment, or deny any such appeal or petition for certiorari, such
that no future appeal is possible.

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           30.    In my opinion, the robust, multi-faceted efforts undertaken in this Notice Plan are of the

highest modern communication standards, and indeed exceeds numerous best practicable, court-approved

notice programs in similar matters and the Federal Judicial Center’s guidelines concerning appropriate

reach. 6



           I declare under penalty of perjury, under the laws of the United States of America, that the

foregoing is true and correct.

           Executed on February 21, 2025, in Tigard, Oregon.



                                                                      _________________________________
                                                                      Jeanne C. Finegan, APR




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  FED. JUD. CTR., Judges’ Class Action Notice and Claims Process Checklist and Plain Language Guide (2010), available at
https://www.fjc.gov/sites/default/files/2012/NotCheck.pdf. The guide suggests that the minimum threshold for adequate notice
is 70%.

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VIA U.S. MAIL

Date: August 2, 2024

To:        All “Appropriate” Federal and State Officials Per 28 U.S.C. § 1715
           (see attached service list)

           Re:         CAFA Notice for the proposed Settlement in In re: Fisher-Price Rock ‘n Play
                       Sleeper Marketing, Sales Practices, and Products Liability Litigation, MDL No.
                       1:19-Md-2903, pending in the Western District of New York


       Pursuant to Section 3 of the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C.
§ 1715, Defendants Mattel, Inc. (“Mattel”) and Fisher-Price, Inc. (“Fisher-Price”) (collectively,
“Defendants”) hereby notify you of the proposed settlement of the above-captioned action (the
“Action”), currently pending in the Western District of New York (the “Court”).

        Eight items must be provided to you in connection with any proposed class action
settlement pursuant to 28 U.S.C. § 1715(b). Each of these items is addressed below, and all exhibits
are available for download at www.CAFANotice.com under the folder entitled Fisher-Price Rock
‘n Play Sleeper Litigation:

           1.          28 U.S.C. § 1715(b)(l) – a copy of the complaint and any materials filed with the
                       complaint and any amended complaints.
                       The Consolidated Amended Complaint and the original underlying individual
                       complaints that are part of the Multidistrict Litigation are available as Exhibits A1
                       - A17.

           2.          28 U.S.C. § 1715(b)(2) – notice of any scheduled judicial hearing in the class
                       action.
                       On July 24, 2024, Plaintiff filed a motion for preliminary approval of the class
                       action settlement, and the date of the preliminary approval hearing has not yet been
                       set. The Court has not yet scheduled the Final Approval Hearing for this matter.
                       The proposed Preliminary Approval Order is available as Exhibit B.

           3.          28 U.S.C. § 1715(b)(3) – any proposed or final notification to class members.
                       Copies of the proposed Direct Notice, Long Form Notice, and Claim Form will be
                       provided to Class Members and will be available on the Settlement Website created
                       for the administration of this matter. These are available as Exhibits C, D, and E,
                       respectively. Additionally, the proposed Publication Notice will employ a mix of

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                      online display, search, social media, and a press release. The Publication Notice is
                      available as Exhibit F. The notices describe, among other things, the Claim
                      submission process and the Class Members’ rights to object or exclude themselves
                      from the Class.

          4.          28 U.S.C. § 1715(b)(4) – any proposed or final class action settlement.
                      The Settlement Agreement is available as Exhibit G.

          5.          28 U.S.C. § 1715(b)(5) – any settlement or other agreement contemporaneously
                      made between class counsel and counsel for defendants.
                      There are no additional settlements or other agreements between Class Counsel and
                      counsel for Defendant beyond what is set forth in the Settlement Agreement.

          6.          28 U.S.C. § 1715(b)(6) – any final judgment or notice of dismissal.
                      The Court has not yet entered a final judgment or notice of dismissal. A copy of the
                      proposed Final Judgment and Final Approval Order are available as Exhibits H
                      and I, respectively.

          7.          28 U.S.C. § 1715(b)(7) – (A) If feasible, the names of class members who reside in
                      each State and the estimated proportionate share of the claims of such members to
                      the entire settlement to that State’s appropriate State official; or (B) if the provision
                      of the information under subparagraph (A) is not feasible, a reasonable estimate of
                      the number of class members residing in each State and the estimated proportionate
                      share of the claims of such members to the entire settlement.
                      The definition of the Settlement Class in the proposed Settlement Agreement means
                      Class Representatives and all Persons in the United States, the District of Columbia,
                      Puerto Rico, and all other United States territories and/or possessions who, during
                      the Class Period, (a) purchased (including to be given as a gift to another Person)
                      or acquired (including by gift) an RNPS, or (b) have an RNPS in their possession.
                      Excluded from the Class are: (i) Persons who participated in the Recall and received
                      a cash refund; (ii) Persons who purchased an RNPS for the sole purpose of resale
                      to consumers at wholesale or retail; (iii) Defendants, their subsidiaries, and their
                      legal representatives, successors, assignees, officers, directors and employees; (iv)
                      Plaintiffs’ Counsel; and (v) judicial officers and their immediate family members
                      and associated court staff assigned to this case. In addition, persons or entities are
                      not Settlement Class Members once they timely and properly exclude themselves
                      from the Class, as provided in this Settlement Agreement, and once the exclusion
                      request is finally approved by the Court.
                      It is not feasible at this time to ascertain the names of all the members of the class
                      who reside in each state or the estimated proportionate share of the claims of such
                      members to the proceeds of the Settlement. It is also not feasible to provide an
                      estimate of the number of members of the class residing in each state and the
                      estimated proposition share of the claims of such members to the Settlement.
                      However, we anticipate that the Settlement Class is sufficiently numerous as to


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                       include Settlement Class Members potentially residing in all 50 states, the District
                       of Columbia, and other Unites States territories and/or possessions.

           8.          28 U.S.C. § 1715(b)(8) – any written judicial opinion relating to the materials
                       described in 28 U.S.C. § 1715(b) subparagraphs (3) through (6).
                       There has been no written judicial opinion relating to the proposed settlement as of
                       this time. Accordingly, no such document is presently available.

        If you have any questions about this notice, the Action, or the materials available for
download at www.CAFANotice.com under the folder entitled Fisher-Price Rock ‘n Play Sleeper
Litigation, please contact the undersigned below.

                                                       Respectfully submitted,




                                                       Frank Ballard
                                                       Senior Manager
                                                       Frank.Ballard@Kroll.com




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            Exhibit B
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                                   CAFA NOTICE SERVICE LIST

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Phil Weiser                                               Raúl Labrador
Ralph L. Carr Colorado Judicial Center                    700 W. Jefferson Street, Suite 210
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 Kroll Settlement Administration         www.kroll.com/business-services
 2000 Market Street, Suite 2700
 Philadelphia, PA 19103
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Oklahoma City, OK 73105




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P.O. Box 7857
Madison, WI 53707
Wyoming Attorney General
Bridget Hill
State Capitol Bldg.
109 State Capitol
Cheyenne, WY 82002




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            Exhibit C
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Subject: Notice of Class Action Settlement
________________________________________________________________

Unique Claimant ID: <<Refnum>>

                                    Court-Ordered Legal Notice

 If You Currently Own or Previously Purchased A Fisher-Price
                    Rock ‘n Play Sleeper
                          You could get money from a class action settlement.

          Para ver este aviso en español, visita www.FisherPriceRockNPlaySettlement.com.

                                 WHAT IS THIS LAWSUIT ABOUT?
 A $19 million Settlement has been preliminarily approved by the Court in a class action lawsuit against
 Fisher-Price, Inc. and Mattel, Inc. (“Defendants”) concerning the Fisher-Price Rock ‘n Play Sleeper
 (“RNPS”). The lawsuit is called In Re: Fisher-Price Rock ’N Play Sleeper Marketing, Sales Practices,
 and Products Liability Litigation, MDL No. 1 : 1 9 - m d - 2903-GWC, pending in the United States
 District Court for the Western District of New York. The lawsuit alleges the RNPS is an unsafe sleeping
 environment for infants and pursues consumer protection and other claims relating to the marketing
 and sale of the RNPS. While Defendants dispute the allegations, the Parties agreed to settle the lawsuit.

 If you currently own an RNPS, DO NOT use your product under any circumstances. Instead,
 please disable your product as shown on the video at www.FisherPriceRockNPlaySettlement.com
 and follow the instructions to file a Claim Form to receive a cash payment under this Settlement.

                                          WHO IS INCLUDED?
You are included in the Settlement as a Settlement Class Member if you live in United States, the
District of Columbia, Puerto Rico, or any United States territories and/or possessions, and (a) purchased
(including to be given as a gift to another Person) or acquired (including by gift) an RNPS, or (b) have
an RNPS in your possession. All models of the RNPS are covered by this Settlement – a full list is
available at www.FisherPriceRockNPlaySettlement.com.

                            WHAT DOES THE SETTLEMENT PROVIDE?
Defendants agreed to deposit $19,000,000 into a Settlement Fund to fully resolve the lawsuit in exchange
for a full release. If you are a Settlement Class Member, what you are eligible to receive depends on
several factors. If you currently own an RNPS (purchased new, used or received as a gift), you may be
eligible for a cash benefit of between $40 and a full refund if you submit proof that you disabled your
product as shown on the video on the Settlement Website. If you previously purchased a new RNPS and
no longer have it, but have written Proof of Purchase, you may be eligible to receive $25 or $35,
depending on your date of purchase, or $10 if you do not have a Proof of Purchase. If you participated
in the RNPS Recall and received a voucher or Fisher-Price toy, you are eligible to receive $10. For
further details about the Settlement, including the relief, eligibility, and release, please go to
www.FisherPriceRockNPlaySettlement.com, and consult the Long Form Notice and the Settlement
Agreement.

                                    WHAT ARE YOUR RIGHTS?
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   File a Claim: You must file a Claim to get any money from the Settlement. The deadline to file a
    Claim is April 29, 2025, or ninety (90) days after the Court’s issuance of the Final Approval
    Order and Final Judgment, whichever is later. You may submit your Claim Form online at
    www.FisherPriceRockNPlaySettlement.com or download and mail your Claim Form to:
    Settlement Administrator – 83052, c/o Kroll Settlement Administration LLC, PO Box 5324, New
    York, NY 10150-5324
   Do Nothing: If you do nothing, you will not receive money and will be legally bound by decisions
    of the Court and give up any right to sue for the claims resolved by this Settlement.
   Object: You can tell the Court what you don’t like about the Settlement, the request for Attorneys’
    Fees and Expenses and/or the request for Class Representative Service Awards, but will remain a
    Settlement Class Member and be legally bound by the decisions of the Court and give up any right
    to sue for Claims resolved by this Settlement. You cannot both object to and exclude yourself from
    the Settlement. The deadline to object is December 30, 2024.
   Exclude Yourself (“opt out”): If you exclude yourself, you will not receive money, but you keep the
    right to sue for the claims resolved by this Settlement. The deadline to exclude yourself is December
    30, 2024.

For details on how to file a Claim, object, or exclude                                   yourself,    visit
www.FisherPriceRockNPlaySettlement.com or call toll-free (833) 522-3524.

                            WHEN IS THE FINAL APPROVAL HEARING?
The Court will hold a hearing on January 28, 2025, at 10:00 a.m. ET at United States District Court,
Western District of New York, 2 Niagara Square, Buffalo, NY 14202 to hear any objections, determine
if the Settlement is fair, reasonable, and adequate, and to consider the request for attorneys’ fees of 28%
of the Settlement Fund ($5,320,000), expenses of up to $825,000, and Class Representative Service Awards
of $3,500 each. The motion for Attorneys’ Fees and Expenses and Class Representative Service Awards will
be posted on the Settlement Website after it is filed. You may appear at the hearing, either yourself or
through an attorney hired by you, but are not required to appear to obtain benefits under the Settlement
or object to the Settlement (if you have not opted out of the Settlement).

This is only a summary. If you have questions or want more information about this lawsuit, the
Settlement, and your rights under the Settlement, visit www.FisherPriceRockNPlaySettlement.com,
call toll-free (833) 522-3524, or write to: Settlement Administrator – 83052, c/o Kroll Settlement
Administration LLC, PO Box 5324, New York, NY 10150-5324
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            Exhibit D
Case 1:19-md-02903-GWC
   Settlement Administrator – 83052 Document 367-1             Filed 02/21/25FIRST-CLASS
                                                                                 Page 26MAIL
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    c/o Kroll Settlement Administration LLC                                        U.S. POSTAGE PAID
    PO Box 5324
    New York, NY 10150-5324                                                              CITY, ST
                                                                                   PERMIT NO. XXXX
                           Electronic Service Requested


            Court-Ordered Legal Notice                     <<Barcode>>

         If You Currently Own or Previously        Unique Claimant ID: <<Refnum>>
              Purchased A Fisher-Price
                Rock ‘n Play Sleeper               Postal Service: Please do not mark barcode

          You could get money from a class
                 action settlement.                  <<FirstName>> <<LastName>>
                                                     <<BusinessName>>
        Para ver este aviso en español, visita       <<Address>>
      www.FisherPriceRockNPlaySettlement.com.        <<Address2>>
                                                     <<City>>, <<ST>> <<Zip>>-<<zip4>>
                          WHAT IS THIS LAWSUIT ABOUT?                                                            WHAT ARE YOUR RIGHTS?
  A $19 million
Case            Settlement has been preliminarily approved
        1:19-md-02903-GWC                                Document             • File a Claim:Filed
                                                           by the Court in a 367-1            You must 02/21/25                 Page
                                                                                                       file a Claim to get any money from the27    of 104
                                                                                                                                              Settlement.
    class action lawsuit against Fisher-Price, Inc. and Mattel, Inc. (“Defendants”)            The deadline to file a Claim is April 29, 2025, or ninety (90) days
    concerning the Fisher-Price Rock ‘n Play Sleeper (“RNPS”). The lawsuit is                  after the Court’s issuance of the Final Approval Order and Final
    called In Re: Fisher-Price Rock ’N Play Sleeper Marketing, Sales Practices,                Judgment, whichever is later. You may submit your Claim Form online at
    and Products Liability Litigation, MDL No. 2903, United States District Court for          www.FisherPriceRockNPlaySettlement.com or download and mail
    the Western District of New York. The lawsuit alleges the RNPS is an unsafe                your Claim Form to: Settlement Administrator – 83052, c/o Kroll Settlement
    sleeping environment for infants and pursued consumer protection and other                 Administration LLC, P.O. Box 5324, New York, NY 10150-5324.
    claims relating to the marketing and sale of the RNPS. While Defendants              • Do Nothing: If you do nothing, you will not receive money and will be
    dispute the allegations, the Parties agreed to settle the lawsuit.                         legally bound by decisions of the Court and give up any right to sue for
                                                                                               the claims resolved by this Settlement.
       If you currently own an RNPS, DO NOT use your product under                       • Object: You can tell the Court what you don’t like about the Settlement,
          any circumstances. Instead, please disable your product as                           the request for Attorneys’ Fees and Expenses and/or the request for
      shown on the video at www.FisherPriceRockNPlaySettlement.com                             Class Representative Service Awards, but will remain a Settlement Class
           and follow the instructions to file a Claim Form to receive                         Member and be legally bound by the decisions of the Court and give up
                    a cash payment under this Settlement.                                      any right to sue for Claims resolved by this Settlement. You cannot both
                                                                                               object to and exclude yourself from the Settlement. The deadline to object
                              WHO IS INCLUDED?                                                 is December 30, 2024.
    You are included in the Settlement as a Settlement Class Member                      • Exclude Yourself (“opt out”): If you exclude yourself, you will not
    if you live in United States, the District of Columbia, Puerto Rico, or                    receive money, but you keep the right to sue for the claims resolved by
    any United States territories and/or possessions, and (a) purchased                        this Settlement. The deadline to exclude yourself is December 30, 2024.
    (including to be given as a gift to another Person) or acquired (including           For details on how to file a Claim, object, or exclude yourself, visit
    by gift) an RNPS, or (b) have an RNPS in your possession. All models                 www.FisherPriceRockNPlaySettlement.com or call toll-free (833) 522-3524.
    of the RNPS are covered by this Settlement – a full list is available at
    www.FisherPriceRockNPlaySettlement.com.                                                                WHEN IS THE FINAL APPROVAL HEARING?
                                                                                         The Court will hold a hearing on January 28, 2025, at 10:00 a.m. ET at
                    WHAT DOES THE SETTLEMENT PROVIDE?                                    United States District Court, Western District of New York, 2 Niagara Square,
    Defendants agreed to deposit $19,000,000 into a Settlement Fund to fully             Buffalo, NY 14202 to hear any objections, determine if the Settlement is fair,
    resolve the lawsuit in exchange for a full release. If you are a Settlement          reasonable, and adequate, and to consider the request for attorneys’ fees
    Class Member, what you are eligible to receive depends on several factors.           of 28% of the Settlement Fund ($5,320,000), expenses of up to $825,000,
    If you currently own an RNPS (purchased new, used or received as a gift),            and Class Representative Service Awards of $3,500 each. The motion for
    you may be eligible for a cash benefit of between $40 and a full refund if you       Attorneys’ Fees and Expenses and Class Representative Service Awards
    submit proof that you disabled your product as shown on the video on the             will be posted on the Settlement Website after it is filed. You may appear at
    Settlement Website. If you previously purchased a new RNPS and no longer             the hearing, either yourself or through an attorney hired by you, but are not
    have it, but have written Proof of Purchase, you may be eligible to receive          required to appear to obtain benefits under the Settlement or object to the
    $25 or $35, depending on your date of purchase, or $10 if you do not have            Settlement (if you have not opted out of the Settlement).
    a Proof of Purchase. If you participated in the RNPS Recall and received a           This is only a summary. If you have questions or want more information
    voucher or Fisher-Price toy, you are eligible to receive $10. For further details    about this lawsuit, the Settlement, and your rights under the Settlement, visit
    about the Settlement, including the relief, eligibility, and release, please go to   www.FisherPriceRockNPlaySettlement.com, call toll-free (833) 522-
    www.FisherPriceRockNPlaySettlement.com, and consult the Long Form                    3524, or write to: Settlement Administrator – 83052, c/o Kroll Settlement
    Notice and the Settlement Agreement.                                                 Administration LLC, P.O. Box 5324, New York, NY 10150-5324.
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            Exhibit E
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FISHER-PRICE ROCK ‘N PLAY SLEEPER SETTLEMENT
 If You Currently Own or Previously Purchased A Fisher-Price Rock
    ‘n Play Sleeper, You May Be Eligible For Cash Benefits From a
                  Consumer Class Action Settlement.
       A federal court authorized this Class Notice. This is not a solicitation from a lawyer.

        Para ver este aviso en español, visita www.FisherPriceRockNPlaySettlement.com.

A $19 million Settlement has been reached in a consumer class action lawsuit against Fisher-Price,
Inc. and Mattel, Inc. (“Defendants”) concerning the Fisher-Price Rock ‘n Play Sleeper (“RNPS” or
“Product”). On April 12, 2019, Fisher-Price and the Consumer Product Safety Commission (CPSC)
announced a voluntary recall of the RNPS entitled “Fisher-Price Recalls Rock ‘n Play Sleeper Due to
Reports of Deaths.” If you are included in the Settlement, you have legal rights and deadlines by which
you must exercise them.

If you currently own an RNPS, DO NOT use your Product under any circumstances. Instead, please
disable your Product as shown on the video on the Settlement Website,
www.FisherPriceRockNPlaySettlement.com, and follow the instructions to file a Claim Form to
receive a cash payment under this Settlement.

If you don’t currently own an RNPS, you may still receive a cash payment under the Settlement if you
participated in the RNPS Recall and received a voucher or a Fisher-Price toy for returning your RNPS,
or previously purchased a new RNPS but no longer own it.

If you file a Claim for a cash payment that is approved, the amount of your payment will depend on
whether you currently own your RNPS, participated in the RNPS Recall, or have a Proof of Purchase.
Cash payments can range from a full refund of the purchase price of your RNPS to $10 per RNPS.
The tables on page 3 show the payment amounts you may be entitled to receive under these different
criteria.

All models of the RNPS are covered by this Settlement and are listed on Appendix A of this Class
Notice.

Please read this Class Notice carefully. Your legal rights are affected even if you do nothing. You
are      encouraged       to      periodically       check        the      Settlement      Website,
www.FisherPriceRockNPlaySettlement.com, because it will be updated with additional information
from time to time.




            Your legal rights may be affected even if you do not act.
                       Please read this Notice carefully.
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            YOUR LEGAL RIGHTS AND OPTIONS IN THIS LAWSUIT
  YOU MAY                                 EXPLANATION                                     DUE DATE
                    If you currently own an RNPS or previously purchased a new
                    RNPS but no longer have it, or previously participated in the        April 29, 2025
                    RNPS Recall and received a voucher or a Fisher-Price toy for         or ninety (90) days
  SUBMIT A          returning the hubs of your RNPS, you must submit a valid              after the Court’s
 CLAIM FOR          Claim to receive a cash benefit under the Settlement.                  issuance of the
    CASH                                                                                   Final Approval
  BENEFITS          If you are a Settlement Class Member, whether you submit a            Order and Final
                    Claim or not, you will be bound by the Court’s judgment of                Judgment,
                    dismissal and release claims against Defendants relating to          whichever is later
                    the lawsuit.
                    If you want to exclude yourself from the Settlement, you must
                    submit a written request to exclude yourself or “opt out” of
 ASK TO BE          the Settlement.                                                       December 30,
 EXCLUDED                                                                                     2024
                    If you opt out of the Settlement, you are not entitled to any of
                    the Settlement benefits, but you keep your right to sue
                    Defendants about the issues in your own lawsuit.
                    If you want to object to the Settlement, you may write to the
                    Court about why you do not like the Settlement. If you
                    exclude yourself from the Settlement, you cannot also object
                    to the Settlement.                                                    December 30,
    OBJECT                                                                                    2024
                    If you are eligible to participate in and object to the
                    Settlement, you are still a part of the Settlement and will be
                    bound the Court’s judgment of dismissal and release claims
                    against Defendants relating to the lawsuit.
                    You are not required to appear in the lawsuit to participate in
 APPEAR IN
                    the proposed Settlement, but you may appear on your own or
    THE
                    through your own lawyer, at your expense, in addition to               January 28,
  LAWSUIT
                    filing an objection (if you do not opt out). You can also ask         2025 at 10:00
 OR GO TO
                    to speak in Court at the Final Approval Hearing if you have              a.m. ET
 THE FINAL
                    previously filed an objection (and did not opt out) and also
 APPROVAL
                    submitted a timely notice of intention to appear at the Final
  HEARING
                    Approval Hearing.
                    You will be included in the Settlement Class but will not
    DO              receive Settlement benefits that you may otherwise be                      N/A
  NOTHING           eligible for, and you will give up the right to sue Defendants
                    about the issues in the lawsuit.

                          ********************************************

The summary tables below show the payment amounts you may be entitled to receive under the Settlement if
you file a valid Claim. See Question 7 for more details.


         Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
             Please continue to check the Settlement Website as it will be periodically updated.
                  PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT
                                                    2
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                 If You Currently Own An RNPS and submit Proof of Disablement
                                                                               Have Proof Settlement
                          Date of Retail Purchase /
                                                                                   of      Payment
                           Date of Manufacture
                                                                               Purchase?* Amount
Purchased between October 12, 2018 and April 12, 2019 and submit a Proof of                Purchase
                                                                                  Yes
Purchase                                                                                     Price
Purchased between October 12, 2018 and April 12, 2019, or RNPS
                                                                                   No         $60
manufactured on or after October 12, 2018, but do not have a Proof of Purchase
Purchased or RNPS manufactured between April 12, 2017 and October 11, 2018          N/A             $50

Purchased or RNPS manufactured on or before April 11, 2017                          N/A             $40
* For Current Owners who submit a Claim without Proof of Purchase, the date the RNPS was manufactured,
evidenced by a 7-character date code stamped on the hub of the RNPS, will be used to determine the amount
of the Settlement Payment.

           If You Do Not Currently Own an RNPS and You Did Not Return the RNPS
                                      Pursuant to the Recall
                                                     Have Proof of   Settlement Payment
           Date of Retail Purchase
                                                      Purchase?            Amount
Purchased new between April 12, 2017 and April
                                                         Yes                 $35
                   12, 2019
   Purchased new on or before April 11, 2017                  Yes                         $25

                 Purchased new                                No                          $10


If You Participated in the RNPS Recall and Received a Voucher or a Fisher-Price Toy for Returning
                                            an RNPS
  Returned Prior to
  Initial Notice Date       Date of Retail Purchase /      Received Voucher or           Settlement
 (September 6, 2024)         Date of Manufacture            Fisher-Price Toy?         Payment Amount

          Yes                       Any Date                         Yes                      $10

     Other important information, including how to submit a valid Claim to get cash benefits under the
      Settlement, is described in detail below, in the Settlement Agreement, and the Settlement Website,
      www.FisherPriceRockNPlaySettlement.com.




        Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
            Please continue to check the Settlement Website as it will be periodically updated.
                 PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT
                                                   3
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                 Please continue to check the Settlement Website as it will be periodically updated.
                      PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT
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                                 A.      BASIC INFORMATION
 1. What is this Class Notice about?
A Court authorized this Class Notice because you have a right to know about a proposed Settlement of a class
action lawsuit and about all of your rights and options before the Court decides whether to give final approval
to the Settlement. The name of the lawsuit is In Re: Rock ‘N Play Sleeper Marketing, Sales Practices, and
Products Liability Litigation, MDL No. 1:19-md-2903 (W.D.N.Y.) (“Rock ‘n Play Sleeper Litigation”). This
Class Notice explains the lawsuit, the Settlement, and your legal rights and options. You are NOT being sued.
The Court still has to decide whether to finally approve the Settlement. Please be patient and check the
Settlement Website identified in this Class Notice regularly. Please do not contact the Court. All questions
should be directed to the Settlement Administrator, identified below.

                          Please read this Class Notice Carefully.
 2. What is the lawsuit about?

Plaintiffs in this consumer class action multi-district litigation allege that the Fisher-Price Rock ‘n Play Sleeper
(RNPS) is an unsafe sleeping environment for infants and pursue claims for violations of various state consumer
protection statutes, among other claims, arising from Defendants’ advertising, labeling, marketing and sale of the
Product as an infant sleeper. You can read the Consolidated Amended Complaint (“CAC”) by visiting the Settlement
Website, www.FisherPriceRockNPlaySettlement.com. Defendants deny that the RNPS is unsafe, that they have
violated any law, and that they engaged in any wrongdoing. The Parties agreed to resolve these matters before these
issues were decided by the Court.

This Settlement does not involve claims of personal injury, wrongful death, or property damage arising from
the use of the RNPS.

On October 1, 2009, Fisher-Price introduced the RNPS to the consumer market. On April 12, 2019, Fisher-
Price and the CPSC jointly announced a voluntary Recall of the RNPS. Fisher-Price sold—either directly or
through retailers—approximately 4.7 million RNPS during the almost ten years the Product was on the market.
The Recall notice stated: “Infant fatalities have occurred in Rock ‘n Play Sleepers, after the infants rolled from
their back to their stomach or side while unrestrained, or under other circumstances,” and warned “[c]onsumers
should immediately stop using the product.” In the CAC, Plaintiffs allege the RNPS exposes infants to risk
regardless of how it is used.

Consumers who purchased an RNPS or received an RNPS as a gift filed a total of sixteen (16) separate class
action lawsuits in six federal courts across the country, asserting class claims on behalf of residents of thirteen
states. Plaintiffs in those cases alleged that Defendants’ advertising and marketing of the RNPS was false and
misleading because the Product posed a safety risk. Some Plaintiffs also alleged the Recall was deficient.

On August 1, 2019, the Judicial Panel of Multi-District Litigation (JPML) transferred ten of the sixteen actions
to the United States District Court for the Western District of New York (WDNY), to join the six class actions
already pending in that District, for centralized proceedings before the Honorable Geoffrey W. Crawford, under
the caption In re: Fisher-Price Rock ‘n Play Sleeper Marketing, Sales Practices, and Products Liability
Litigation, MDL No. 2903. ECF 1.



On August 14, 2019 and August 19, 2019, the JPML also transferred Hanson v. Fisher-Price, Inc., C.A. No.
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19-00204 (S.D. Iowa) and Willis v. Fisher-Price, Inc., Willis v. Fisher-Price, Inc., C.A. No. 19-00670 (M.D.
Tenn.), to the WDNY, respectively. ECF 2, 5.

On September 20, 2019, the Court appointed Class Counsel as well as a Plaintiffs’ Committee and Liaison
Counsel in its Initial Case Management Order. ECF 12. Among other things, the Court also ruled that discovery
would be bifurcated, with discovery relating to class certification issues occurring first, followed by discovery
on liability issues if a class was certified.

On October 28, 2019, Plaintiffs filed their CAC asserting claims on behalf of twenty-three individuals and
similarly situated class members who purchased or owned an RNPS from 2009 to the present. ECF 19. Plaintiffs
alleged violations of various state consumer protection statutes, negligence, breach of express warranty, breach
of implied warranty, and unjust enrichment claims as well as violations of the Magnusson Moss Warranty Act,
15 U.S.C. § 2301, et seq. Id. In addition, Plaintiffs alleged that the Recall was deficient and sought injunctive
relief to improve the terms of the Recall. Id.

As described in the Settlement Agreement, after the filing of the CAC, the Parties engaged in extensive written
and document discovery on class certification issues and took the depositions of Defendants’ employees and
the named Plaintiffs. The Parties exchanged reports of independent experts, conducted expert depositions, and
briefed motions relating to experts and expert witnesses. After litigation of a comprehensive class certification
motion, informed by the findings of the Parties’ respective experts regarding Defendants’ marketing and
damages issues (ECF 125), which was vigorously opposed by Defendants (ECF 165), on February 25, 2022,
the Court held a full-day class certification hearing to consider the certification of a class of New York
purchasers and owners as a “bellwether” for potential certification of other state classes after the resolution of
the New York-specific motion. The hearing focused on the certification of damages and injunctive relief claims,
and related issues presented by the New York plaintiffs. ECF 217.

On June 2, 2022, the Court denied certification of a nationwide injunctive relief class and a New York damages
class, under Federal Rules of Civil Procedure 23(b)(2) and 23(b)(3), respectively, but granted certification of
an “issue class” of New York consumers, under Federal Rule of Civil Procedure 23(c)(4), on two liability issues:
whether Fisher-Price’s marketing of the RNPS would have led a reasonable consumer to believe that the Sleeper
was safe for infant sleep, and whether the marketing would be material to consumers’ decision to purchase the
Product. ECF 254. The Court directed that a jury trial on those issues proceed as soon as the Parties could be
ready. ECF 260.

Plaintiffs petitioned the Second Circuit Court of Appeal pursuant to Rule 23(f) for leave to appeal the Court’s
order denying full certification of a New York class under New York’s consumer protection law, which the
Second Circuit denied on October 5, 2022. ECF 269.

Discovery then commenced on liability issues in preparation for further litigation. The Parties exchanged further
voluminous written and document discovery in preparation of a trial relating to the New York liability class.
Plaintiffs processed and reviewed over 270,000 additional documents containing over a million pages related
to the RNPS, including, among others, additional documents concerning the development, design, and
marketing of the RNPS, reports of incidents that reportedly occurred while infants were in an RNPS, and other
disputed liability issues. Additionally, Plaintiffs worked to secure document discovery from third parties,
including plaintiffs in certain wrongful death litigation involving the RNPS.

On September 8, 2022, the Court directed the Parties to submit briefing as to whether a California consumer
class should be certified. ECF 262. On October 21, 2022, Plaintiffs filed their Motion for Class Certification of
the California Class (ECF 283) seeking, inter alia, to certify a class of RNPS purchasers under California’s
consumer protection statutes, implied warranty, and unjust enrichment claims. Defendants opposed the motion
(ECF 296), to which Plaintiffs filed a reply brief. ECF 301. On March 7, 2023, the Court set a hearing on the

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motion for April 13, 2023, which, due to the March 2023 settlement efforts described below, was rescheduled
for December 15, 2023 and, later, for February 23, 2024.

On October 7, 2022, Defendants moved to dismiss the certified New York class for lack of standing of the
named Plaintiffs (ECF 271), which Plaintiffs opposed. ECF 284. The Court denied the motion on February 8,
2023. ECF 286.

On December 1, 2022, the Court advised the Parties of its intent to schedule a trial for the New York liability
class to commence in the spring of 2024. ECF 291.

Beginning in 2020, the Parties engaged in extensive negotiations, including a mediation over Zoom with
Christopher Ekman, an experienced mediator selected by the Parties, on September 10, 2020; a second
mediation over Zoom with mediator Jill Sperber on April 12, 2022, which involved the exchange of numerous
written settlement proposals; and an in-person two-day mediation with the Hon. Margaret Morrow (Ret.) and
Mr. Ekman on March 27 and 28, 2023. After additional negotiations under the auspices of the Hon. Margaret
Morrow and Mr. Ekman, the Parties reached a settlement in principle to fully resolve the Action, subject to the
negotiation of a definitive settlement agreement.

On February 13, 2024, the Parties informed the Court of the settlement in principle. ECF 325.

Thereafter, the Parties engaged in extensive efforts to craft a settlement agreement, had numerous Zoom
meetings during which they negotiated terms, and exchanged multiple drafts of the Settlement Agreement. The
Parties were unable to reach agreement on certain terms of the Settlement and participated in an additional
mediation via Zoom with Hon. Margaret Morrow (Ret.) and Mr. Ekman on July 2, 2024. Throughout this
period, Plaintiffs also worked with a settlement administrator to develop a notice plan and drafted various notice
documents and a claim form.

Between April 11, 2024 and July 9, 2024, the Parties filed, and the Court granted, joint motions to extend the
deadline for the Parties to conclude a settlement agreement and for Plaintiffs to file their Motion for Preliminary
Approval of Class Action Settlement. ECF 331-343.

On July 24, 2024, the Parties executed the Settlement Agreement. Plaintiffs filed their Unopposed Motion for
Preliminary Approval (ECF 348) together with the Settlement Agreement the same day. ECF 349. On August
9, 2024, the Court entered an Order granting Plaintiffs’ Motion for Preliminary Approval (ECF 352) together
with an Order Setting Dates for Proposed Final Certification and Settlement Approval. ECF 353. On August
15, 2024, the Court entered an Amended Order Setting Dates for Proposed Final Certification and Settlement
Approval (ECF 353), which contains the operative deadlines for filing claims, to opt-out of or object to the
Settlement, and sets the Final Approval Hearing.

The full procedural history of the litigation is detailed in the Settlement Agreement, which is available on the
Settlement Website, www.FisherPriceRockNPlaySettlement.com.

 3. Why is this a class action?
In a class action, people called “Class Representatives” sue on behalf of other people who have similar claims.
All of these people together are the “Class” or “Class Members” if the Court approves this procedure. Once
approved, the Court resolves the issues for all Class Members, except for those who exclude themselves from
the Class.




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 4. Why is there a Settlement?
The Parties in the lawsuit agreed to this Settlement to avoid the cost and risk of further litigation, including a
potential trial or trials, and so that the Class Members can get benefits, in exchange for releasing Defendants
from liability. The Settlement does not mean that Defendants broke any laws or did anything wrong, and the
Court did not decide which side was right. This Settlement has been preliminarily approved by the Court, which
authorized the issuance of this Class Notice. The Class Representatives and the lawyers representing them,
including Class Counsel, believe that the Settlement is fair, reasonable, and adequate, and is in the best interests
of all Class Members.

The essential terms of the Settlement are summarized in this Class Notice. The Settlement Agreement along
with all exhibits sets forth in greater detail the rights and obligations of the Parties. If there is any conflict
between this Class Notice and the Settlement Agreement, the Settlement Agreement governs. The Settlement
Agreement is available on the Settlement Website, www.FisherPriceRockNPlaySettlement.com.

The Court will consider whether to finally approve the Settlement at the Final Approval Hearing, which is
scheduled to occur on January 28, 2025 at 10:00 a.m. ET. If the Final Approval Hearing is rescheduled by the
Court, the new date and time of the hearing will be posted on the Settlement Website. Please check the
Settlement Website from time to time for updates about the Settlement.


                         B.      WHO IS IN THE SETTLEMENT?
To see if you are affected or if you can get benefits, you first have to determine whether you are a Class Member.

 5. How do I know if I am part of the Settlement?
You are part of the Settlement Class if you are a person in the United States, the District of Columbia, Puerto
Rico, and all other United States territories and/or possessions who, during the Class Period, (a) purchased
(including to be given as a gift to another Person) or acquired (including by gift) an RNPS, or (b) have an RNPS
in their possession. This is called the “Class.”

Excluded from the Settlement Class are: (i) Persons who participated in the Recall and received a cash refund;
(ii) Persons who purchased an RNPS for the sole purpose of resale to consumers at wholesale or retail; (iii)
Defendants, their subsidiaries, and their legal representatives, successors, assignees, officers, directors and
employees; (iv) Plaintiffs’ Counsel; and (v) judicial officers and their immediate family members and associated
court staff assigned to this case. In addition, persons or entities are not Settlement Class Members once they
timely and properly exclude themselves from the Class, as provided in the Settlement Agreement, and once the
exclusion request is finally approved by the Court.

 6. I’m still not sure if I’m included in the Settlement.
If you are not sure whether you are included in the Settlement Class, please visit
www.FisherPriceRockNPlaySettlement.com, which contains a list of RNPS that are covered by the
Settlement. All models of the RNPS are included in the Settlement. If you are still not sure if you’re included
in the Settlement, please contact the Settlement Administrator by using the ‘Contact Us’ page of the Settlement
Website.

Please do NOT contact the Court. All questions should be directed to the Settlement Administrator.



          Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
              Please continue to check the Settlement Website as it will be periodically updated.
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        C.        THE SETTLEMENT BENEFITS —WHAT YOU GET
                           AND HOW TO GET IT
 7. What does the Settlement Provide?
Under the Settlement, Defendants have agreed to deposit $19 million dollars into a Settlement Fund to fully
resolve the class action in exchange for a full release. This is a non-reversionary settlement, meaning that no
part of the Settlement Amount will be returned to Defendants if the Settlement is approved. All Settlement
Payments to Settlement Class Members will be paid from the Net Settlement Fund, which is the Settlement
Fund less any Attorneys’ Fees and Expenses and Class Representative Service Awards that may be awarded by
the Court, Taxes, and Settlement Administration Expenses.
If you are a Settlement Class Member, what you are eligible to receive depends on several factors. The
Settlement benefits are outlined generally below, and more information can be found on the Settlement Website.
The Court still has to decide whether to finally approve the Settlement. No benefits have to be provided until
and unless the Court finally approves the Settlement and only after any appeal period expires or any appeals
are resolved in favor of the Settlement. We do not know when the Court will finally approve the Settlement if
it does so or whether there will be any appeals that would have to be resolved in favor of the Settlement before
certain benefits would be provided, so we do not know precisely when any benefits may be available. Please
check the Settlement Website, www.FisherPriceRockNPlaySettlement.com, regularly for updates regarding the
Settlement.
To receive a cash payment, you must file a valid Claim on or before April 29, 2025, or ninety (90) days
after the Court’s issuance of the Final Approval Order and Final Judgment, whichever is later. If you do
nothing, you will not receive any benefits from the Settlement and, if you are a Settlement Class Member, you
will not be able to sue Defendants about the issues in the lawsuit unless you exclude yourself or opt out of the
Settlement.
For a period of twenty-four (24) months from the Effective Date, or until the Net Settlement Fund is exhausted,
whichever is earlier, if you claim that you did not receive notice or were unaware of this Settlement prior to the
Claims Deadline, you may contact the Settlement Administrator by using the ‘Contact Us’ page of the
Settlement Website about participating in the Settlement. If the Settlement Administrator determines that the
person is a Settlement Class Member, the Settlement Administrator shall permit the Settlement Class Member
to submit a Claim if the Net Settlement Fund is not exhausted.
Settlement Class Members who submit Claim Forms should consult their tax advisor regarding any tax
ramifications of receiving any Settlement Payment under this Settlement. Class Representatives, Class Counsel,
Plaintiffs’ Counsel, Defendants, and Counsel for Defendants are not providing any opinion or advice concerning
the tax consequences of receiving any payments under this Settlement.

 7.A. Settlement Class Members Who Received a Voucher or a Fisher-Price Toy for
 Returning an RNPS’s Hubs Pursuant to the Recall
If the Settlement is finally approved, Settlement Class Members who, prior to the Initial Notice Date, returned
the hubs of an RNPS pursuant to the Recall and received a voucher or a Fisher-Price toy, shall be entitled to
receive a Settlement Payment of $10 for each RNPS returned.

    Returned Prior to
    Initial Notice Date        Date of Retail Purchase /        Received Voucher or            Settlement
   (September 6, 2024)          Date of Manufacture              Fisher-Price Toy?          Payment Amount

            Yes                         Any Date                          Yes                       $10

          Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
              Please continue to check the Settlement Website as it will be periodically updated.
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 7.B. Settlement Class Members Who Currently Own An RNPS
If the Settlement is finally approved, for Settlement Class Members who currently own an RNPS (purchased
new, used, or received as a gift) and who have submitted a Claim Form with Proof of Disablement of that
RNPS, shall be entitled to the following for each RNPS for which they have submitted Proof of Disablement.
See Question 9 for further details.

If no Proof of Purchase is provided, the date the Product was manufactured shall be evidenced by the date code
(7-character alphanumeric string) stamped on the inside of the hub of the RNPS, a photo of which shall be
submitted with the Claim Form as part of the Proof of Disablement.

                   Date of Retail Purchase /                        Have Proof of          Settlement
                     Date of Manufacture                             Purchase?          Payment Amount
 Purchased between October 12, 2018 and April 12, 2019 and
                                                                         Yes              Purchase Price
 submit a Proof of Purchase
 Purchased between October 12, 2018 and April 12, 2019, or
                                                                          No                      $60
 RNPS manufactured on or after October 12, 2018
 Purchased or RNPS manufactured between April 12, 2017 and
                                                                         N/A                      $50
 October 11, 2018

 Purchased or RNPS manufactured on or before April 11, 2017              N/A                      $40

The total amount from the Net Settlement Fund to be used to make Settlement Payments to Current Owners
with Approved Claims shall be capped at $4,750,000 (Four Million Seven Hundred Fifty Thousand Dollars)
(“Current Owners’ Fund”). An additional sum of no less than $250,000 (Two Hundred Fifty Thousand Dollars)
from the Net Settlement Fund shall be placed in a set-aside fund to make Settlement Payments for Current
Owner Claims that are submitted after the Claims Deadline pursuant to Section III.E of the Settlement
Agreement (“Current Owners’ Set-Aside Fund”).


 7.C. Settlement Class Members Who Do Not Currently Own An RNPS
If the Settlement is finally approved, for Settlement Class Members who: (1) previously purchased a new RNPS
(either for personal use or a gift); (2) did not return the RNPS pursuant to the Recall or the Settlement
Agreement; and (3) submit a valid Claim Form with an attestation that they no longer own the RNPS, are
entitled to the following for each new RNPS purchased.

                                                                                  Settlement Payment
          Date of Retail Purchase               Have Proof of Purchase?
                                                                                        Amount
  Purchased new between April 12, 2017
                                                           Yes                             $35
            and April 12, 2019
 Purchased new on or before April 11, 2017                 Yes                             $25
              Purchased new                                No                              $10*

The total amount from the Net Settlement Fund to be used to make Settlement Payments to Purchasers of new
RNPS with Proof of Purchase (“POP-Purchasers”) with Approved Claims shall be capped at $4,750,000 (Four
Million Seven Hundred Fifty Thousand Dollars) (“POP-Purchasers’ Fund”). An additional sum of no less than
$250,000 (Two Hundred Fifty Thousand Dollars) from the Net Settlement Fund shall be placed in a set-aside
fund for Settlement Payments for POP-Purchaser Claims that are submitted after the Claims Deadline pursuant
to Section III.E of the Settlement Agreement (“POP-Purchasers’ Set-Aside Fund”).

          Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
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*The total amount of the Net Settlement Fund used for disbursement to Settlement Class Members who do not
currently own an RNPS and do not have Proof of Purchase for a new RNPS, shall be $1,000,000 (One Million
Dollars). In the event that Settlement Class Members with Approved Claims under this Section exceed
$1,000,000 (One Million Dollars), the Approved Claims shall be reduced pro rata to a total of $1,000,000 (One
Million Dollars).

Settlement Class Members who acquired but are not purchasers of a new RNPS (including giftees) and
purchasers of, or those who acquired (including by gift), a used RNPS, cannot recover, unless they are Current
Owners of an RNPS or returned the hubs of an RNPS pursuant to the Recall and received a voucher or a Fisher-
Price toy.

 8. How do I file a Claim for cash benefits under this Settlement?
Class Members who wish to receive compensation from the Settlement must file a Claim Form. Claim Forms
are    available      on    the     Settlement    Website      and     can    be     filed    online     at
www.FisherPriceRockNPlaySettlement.com. If you are submitting Proof of Purchase or Proof of
Disablement, you will be able to upload them when submitting your Claim Form online. Alternatively, you can
mail a Claim Form, with the Proof of Purchase and/or Proof of Disablement, if required, to the Settlement
Administrator at the following address:

                                       Settlement Administrator – 83052
                                   c/o Kroll Settlement Administration LLC
                                                 P.O. Box 5324
                                          New York, NY 10150-5324

For faster processing of your Claim Form and to have the option to receive any Settlement Payment via a digital
method, such as Venmo, PayPal, or digital payment card, submit your Claim Form online. If you do not want
to receive your Settlement Payment electronically, you can receive payment via a physical check sent by the
Settlement Administrator. Claim Forms submitted by mail will receive any Settlement Payment by physical
check.

The     Claim     Form      is    available    for    downloading     on    the Settlement Website,
www.FisherPriceRockNPlaySettlement.com. You can also request that a Claim Form be mailed to you by
submitting your request on the ‘Contact Us’ page of the Settlement Website.

   TO BE CONSIDERED TIMELY, ALL CLAIMS FORMS, TOGETHER WITH PROOF OF
 PURCHASE AND/OR PROOF OF DISABLEMENT, IF REQUIRED, MUST BE SUBMITTED ON
  THE SETTLEMENT WEBSITE OR POSTMARKED NO LATER THAN APRIL 29, 2025, OR
NINETY (90) DAYS AFTER THE COURT’S ISSUANCE OF THE FINAL APPROVAL AND FINAL
                       JUDGMENT, WHICH EVER IS LATER.

Each Claim Form submitted to the Settlement Administrator will be assigned a Unique Claimant ID that can be
used by Settlement Class Members to track their Claims. Settlement Class Members who received Direct Notice
of the Settlement (by email or postcard) will already have Unique Claimant IDs assigned to them as shown in
the email or on the postcard. Settlement Class Members who did not receive Direct Notice of the Settlement
may register on the Settlement Website to get a Unique Claimant ID assigned to them.

Upon receipt of a submitted Claim Form, the Settlement Administrator will review the Claim to determine
whether the Claim meets all of the qualifications for payment, and, if so, determine the amount of the Settlement
Payment the Class Member is entitled to receive in accordance with the Settlement Agreement. The Settlement
Administrator will use reasonable efforts to complete its review of Claim Forms in a timely manner.

          Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
              Please continue to check the Settlement Website as it will be periodically updated.
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If a Claim is deficient, the Settlement Administrator will email a notice to the Claimant if an email address was
provided, or, if no email address was provided, mail a notice of deficiency letter to the Claimant, requesting
that the Claimant complete and/or correct the deficiencies and resubmit the Claim Form within 30 days. If the
Settlement Class Member fails to provide the requested documentation or information within the time allotted,
the Claim will be denied without further processing. If the Claimant timely provides the requested
documentation or information, the Settlement Administrator shall process the Claim in the ordinary course.

For a period of twenty-four (24) months from the Effective Date, or until the Net Settlement Fund is exhausted,
whichever is earlier, if you claim that you did not receive notice or were unaware of this Settlement prior to the
Claims Deadline, you may contact the Settlement Administrator by going to the ‘Contact Us’ page of the
Settlement Website. If the Settlement Administrator determines that the person is a Settlement Class Member,
the Settlement Administrator shall permit the Settlement Class Member to submit a Claim if the Net Settlement
Fund is not exhausted.

 9. I currently own a Rock ‘n Play Sleeper. How do I disable it so I can file a Claim?
Instructions on how to disable the Rock ‘n Play Sleeper are on the Settlement Website. There is also a video
demonstrating how to disable Products on the Settlement Website.
A Proof of Disablement means photographs showing, in full, all of the following: (i) the liner of the RNPS,
detached from the frame and cut along the length of the Product from head to toe and along the frame, such that
it is no longer attached to the frame; (ii) the pad removed from the RNPS and cut so it can no longer be attached
to the Product; (iii) your Unique Claimant ID (sent to you or that you received after registering on the Settlement
Website) written in permanent marker on the fabric that has been cut; and (iv) the date code and product number
on the inside of the hub of the RNPS. Instructions on how to disable your RNPS and to complete and submit a
valid Proof of Disablement are on the Settlement Website, www.FisherPriceRockNPlaySettlement.com.

 10. I want to submit Proof of Purchase. What kind of documents can I submit as Proof
 of Purchase in support of my Claim?
An acceptable form(s) of Proof of Purchase is documentary evidence supporting a Claim such as a receipt or
order confirmation from a retailer, credit card statement, canceled check, or other reasonable and practicable
physical evidence as may be accepted by the Settlement Administrator, which shows the date of purchase and
the Purchase Price of the RNPS that is the subject of the Claim. The Settlement Administrator may but is not
required to accept other reasonable physical evidence in support of a Claim.

 11. How will I know if my Claim is approved?
If your Claim is approved by the Settlement Administrator, you will receive a Settlement Payment in the amount
of your Approved Claim.

 12. What happens if my Claim is denied?
If you are a Settlement Class Member and your Claim is rejected for payment, in whole, you will not receive
any payment for the Claim submitted and will be bound by the terms of the Settlement Agreement and by the
Final Approval Order and Final Judgment entered in the Action.

If you are a Settlement Class Member and your Claim is approved in part and rejected in part, you will not
receive payment for the portion of your Claim that is rejected and will be bound by the terms of the Settlement
Agreement and by the Final Approval Order and Final Judgment entered in the Action. You will only receive
payment for the approved portion of your Claim.
          Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
              Please continue to check the Settlement Website as it will be periodically updated.
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 13. If my Claim is approved, how will I get paid under the Settlement?
If your Claim is submitted electronically via the Settlement Website and is approved, in whole or in part, you
have the option to receive your Settlement Payment through digital methods, such as Venmo, PayPal, or digital
payment card. If you do not want to receive your Settlement Payment electronically, you can receive your
payment via a physical check sent by the Settlement Administrator. Claim Forms submitted by mail will receive
any Settlement Payment by physical check.

The Parties cannot predict exactly when (or whether) the Court will give final approval to the Settlement, so
please be patient. Updated information about the case can be obtained on the Settlement Website,
www.FisherPriceRockNPlaySettlement.com, or through the Settlement Administrator by calling toll-free at
(833) 522-3524.

 13.A. Distribution of Settlement Payments
The Settlement Administrator shall calculate Settlement Payments on Approved Claims under Section III.B and
complete its initial distribution on all timely filed and Approved Claims as soon as practicable and shall use its
reasonable best efforts to complete the initial distribution of Settlement Payments no later than six (6) months
after the Effective Date.

For Claims submitted pursuant to Section III.E of the Settlement, the Settlement Administrator shall calculate
Settlement Payments due on any Approved Claims and shall use reasonable best efforts to complete
distributions of Settlement Payments on Approved Claims every six (6) months, with funds from the Current
Owners’ Set-Aside Fund, the POP-Purchasers’ Set-Aside Fund, or the No-POP-Purchasers’ Fund, as the case
may be.

Additional distributions in the same manner shall be made every (6) months until the expiration of twenty-four
(24) months after the Effective Date; provided, however, that Class Counsel, after consultation with the
Settlement Administrator, in its sole discretion, may authorize that distributions may be made before or after
six (6) months after the date of the previous distribution, subject to Court approval. The Settlement
Administrator shall use its reasonable best efforts to complete a final distribution no later than forty-five (45)
days after the expiration of twenty-four (24) months following the Effective Date. No Claims may be submitted
after the expiration of twenty-four (24) months following the Effective Date.

After the expiration of twenty-four (24) months from the Effective Date, if the Settlement Fund is still not
exhausted, Class Counsel will confer with the Settlement Administrator to determine if it is economically
feasible to make additional Settlement Payments to Settlement Class Members who filed Approved Claims. If
so, Class Counsel, in its sole discretion, may recommend that additional Settlement Payments be made to
Settlement Class Members, subject to Court approval. If approved by the Court, Class Counsel shall make
additional Settlement Payments consistent with the Court’s ruling, so long as the total amount of the Settlement
Payments for each Approved Claim does not exceed the Purchase Price of the RNPS.

Any Unclaimed Funds remaining in the Net Settlement Fund, after distribution is made pursuant to Section
III.B through Section III.F.3 of the Settlement Agreement, shall be paid to the Non-Profit Residual Recipient.

 13.B. Pro Rata Adjustment of Settlement Payments

          Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
              Please continue to check the Settlement Website as it will be periodically updated.
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As part of the distribution process, Settlement Payments due on Approved Claims may be increased or
decreased on a pro rata basis, subject to the following:

Current Owners Fund:
       If the total amount of Settlement Payments on Approved Claims for Current Owners exceeds the total
        amount of the Current Owners’ Fund, and if additional funds are not available as described below, the
        Settlement Payment for each Approved Claim to Current Owners shall be reduced pro rata, such that
        the total of Settlement Payments made to Current Owners is equal to the total allocated to the Current
        Owners’ Fund. SA, § III.B.2.h.

       If the total amount of Settlement Payments for Approved Claims for Current Owners is less than the
        total allocated to the Current Owners’ Fund, the first $375,000 (Three Hundred Seventy-five Thousand
        Dollars) of remaining funds shall be placed in the Current Owners’ Set-Aside Fund. If the Current
        Owners’ Fund is still not exhausted, and if Approved Claims for POP-Purchasers exceed the POP-
        Purchasers’ Fund, any remaining funds in the Current Owners’ Fund shall be moved to the POP-
        Purchasers’ Fund, up to the amount required to avoid a pro rata reduction in Settlement Payments to
        POP-Purchasers. If the Current Owners’ Fund is still not exhausted, any remaining funds shall be placed
        in the Current Owners’ Set-Aside Fund. III.B.4.a.

POP-Purchasers’ Fund:
       If the total amount of Settlement Payments on Approved Claims for POP-Purchasers exceeds the total
        amount of the POP-Purchasers’ Fund, and if additional funds are not available as described below, the
        Settlement Payments for each Approved Claim to POP-Purchasers shall be reduced pro rata, such that
        the total of Settlement Payments made to POP-Purchasers is equal to the total allocated to the POP-
        Purchasers’ Fund. SA, § III.B.3.e.

       If the total amount of Settlement Payments for Approved Claims for POP-Purchasers is less than the
        total allocated to the POP-Purchasers’ Fund, the first $375,000 (Three Hundred Seventy-five Thousand
        Dollars) of remaining funds shall be placed in the POP-Purchasers’ Set-Aside Fund. If the POP-
        Purchasers’ Fund is still not exhausted, and if Approved Claims for Current Owners exceed the Current
        Owners’ Fund, any remaining funds in the POP-Purchasers’ Fund shall be moved to the Current
        Owners’ Fund, up to the amount required to avoid a pro rata reduction in Settlement Payments to
        Current Owners. If the POP-Purchasers’ Fund is still not exhausted, any remaining funds shall be placed
        in the POP-Purchasers’ Set-Aside Fund. SA, III.B.4.b.

In the event that the total amount of Settlement Payments for Approved Claims for both Current Owners and
POP-Purchasers is less than the total allocated to their respective Funds, any funds remaining in the Current
Owners’ Fund shall be placed in the Current Owners’ Set-Aside Fund and any funds remaining in the POP-
Purchasers’ Fund shall be placed in the POP-Purchasers’ Set-Aside Fund. SA, III.B.4.c.

No-POP Purchasers’ Fund:
       If the total amount of Settlement Payments due on Approved Claims exceeds $1,000,000 (One Million
        Dollars), each Approved Claim shall be reduced pro rata, such that the total of all Approved Claims is
        equal to $1,000,000 (One Million Dollars).

  14. What am I giving up in exchange for Settlement benefits?
If the Settlement becomes final, Settlement Class Members who do not exclude themselves from the Class will
release Defendants from liability and will not be able to sue Defendants about the issues in the lawsuit but will
not be releasing any claims for personal injury, wrongful death or physical property damage. The Settlement

          Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
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Agreement at Section VII describes the Released Claims in necessary legal terminology, so read it carefully.
For ease of reference, we also attach the full release section in Appendix B to this Notice. The Settlement
Agreement and Release are also available at www.FisherPriceRockNPlaySettlement.com. You can talk to
one of the lawyers listed in Question 20 below for free or you can, of course, talk to your own lawyer at your
own expense if you have questions about the Released Claims or what they mean.

      D.       EXCLUDING YOURSELF FROM THE SETTLEMENT
If you want to keep the right to sue or continue to sue Defendants over the legal issues in the lawsuit, then you
must take steps to exclude yourself from this Settlement. This is also known as “opting out” of the Class.

 15. If I exclude myself, can I get anything from this Settlement?
If you exclude yourself, you do not get Settlement benefits, and you will not be bound by anything that happens
in this lawsuit. If you ask to be excluded, you cannot also object to the Settlement or submit a Claim Form. But,
if you timely and properly request exclusion, the Settlement will not prevent you from suing, continuing to sue
or remaining or becoming part of a different lawsuit against Defendants in the future about the issues in the
lawsuit.

 16. If I do not exclude myself, can I sue later?
Unless you exclude yourself, you give up the right to sue Defendants for the claims resolved by this Settlement.
If you do not exclude yourself and the Settlement is finally approved, you will be permanently enjoined and
barred from initiating or continuing any lawsuit or other proceeding against Defendants about the issues in the
lawsuit. Remember that this lawsuit does not concern claims, lawsuits or other proceedings against Defendants
related to personal injury, wrongful death or property damage claims involving the Rock ‘n Play Sleeper.

 17. How do I get out of the Settlement?
To exclude yourself from the Class, you must send to the Settlement Administrator by U.S. mail a written
Request for Exclusion specifying that you want to be excluded from the Settlement, which must include: (a)
the case name and number of the Action (In Re: Rock ‘N Play Sleeper Marketing, Sales Practices, and Products
Liability Litigation, MDL No. 1:19-md-2903); (b) your full name, current residential address, mailing address
(if different), telephone number, and email address; (c) an explanation of why you think you are a Settlement
Class Member, including the model of the RNPS, the place of purchase, the Purchase Price, and whether the
RNPS is currently owned by the Settlement Class Member; (d) a clear statement communicating that you elect
to be “excluded” from the Settlement; and (e) your dated, handwritten signature (an electronic signature or
attorney’s signature is not sufficient).

All Requests for Exclusion must be submitted, signed, and mailed to the Settlement Administrator and
postmarked no later than December 30, 2024 to:
                                       Settlement Administrator – 83052
                                   c/o Kroll Settlement Administration LLC
                                                 P.O. Box 5324
                                          New York, NY 10150-5324

If you return a late Request for Exclusion, the request will be deemed invalid, and you will remain a member
of the Settlement Class and will be bound by all of the terms of the Settlement and by all subsequent
proceedings, orders, and judgments, including, but not limited to, the Release, Final Judgment, and Final
Approval Order in the Action.

           Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
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Your letter with your Request for Exclusion must be postmarked no later than December 30, 2024, to be
considered by the Court. The deadlines found in this Notice may be changed by the Court. Please check
www.FisherPriceRockNPlaySettlement.com regularly for updates regarding the Settlement.

YOU CANNOT EXCLUDE YOURSELF BY TELEPHONE OR BY SENDING AN EMAIL.

DO NOT SUBMIT BOTH A CLAIM FORM AND A REQUEST FOR EXCLUSION. IF YOU SUBMIT
BOTH A CLAIM FORM AND A REQUEST FOR EXCLUSION, YOUR CLAIM FORM WILL BE
DISREGARDED.


                     E.      OBJECTING TO THE SETTLEMENT

 18. How do I tell the Court if I do not like the Settlement?
If you are a Class Member, and you do not exclude yourself from the Settlement Class, you can object to the
Settlement, the request for Attorneys’ Fees and Expenses and/or the request for Class Representative Service
Awards (see Question 21), if you wish. To object, you must either (1) submit a written objection electronically
with the Court on or before December 30, 2024; or (2) mail the written objection to the Clerk of the Court with
a postmark dated on or before December 30, 2024, with copies provided to Class Counsel and Counsel for
Defendants.

For an objection to be considered by the Court, your objection must include: (a) the case name and number of
the Action (In Re: Rock ‘N Play Sleeper Marketing, Sales Practices, and Products Liability Litigation, MDL
No. 1:19-md-2903); (b) your full name, current residential address, mailing address (if different), telephone
number, and email address; (c) an explanation of why you believe you are a Settlement Class Member, including
the model of your Rock ‘n Play Sleeper, the place of purchase, the Purchase Price, and whether you currently
own the Product; (d) whether your objection applies only to yourself, to a specific subset of the Settlement Class
or to the entire Settlement Class, and all grounds for the objection, accompanied by any legal support for the
objection, and any documents or other evidence you believe supports your objection; (e) the number of times
you objected to a class action settlement within the last five years, the caption and case number of each case in
which you made such an objection and the caption and case number of any related appeal, and a copy of any
orders related to or ruling upon your prior such objections that were issued by the trial and appellate courts in
each listed case; (f) the full name, telephone number, mailing address, and email address of any and all lawyers
who represent you in connection with the objection, including any former or current lawyers who may be
entitled to compensation for any reason related to the objection; (g) the identity of all lawyers who will represent
you at the Final Approval Hearing; (h) the number of times your lawyer(s) has objected to a class action
settlement within the last five years, and the caption and case number of each case in which the lawyer(s) made
such objection and the caption and case number of any related appeal; (i) if you or your lawyer(s) have not
made any such prior objection, please so state in the written materials provided with the objection; (j) a list of
all persons who you or your lawyer(s) intends to call to testify at the Final Approval Hearing in support of the
objection; (k) whether you intend to personally appear and/or testify at the Final Approval Hearing; and (l) your
handwritten original signature and date of signature. Each objection must be personally signed by you (an
electronic signature or attorney’s signature is not sufficient).


If you fail to comply with all the requirements for properly filing an objection, you shall be deemed to have
waived and forfeited any and all rights you may have to appear separately and object, whether by a subsequent
objection, intervention, appeal, or any other process, and shall be bound by all the terms of the Settlement
Agreement and by all proceedings, orders and judgments, including, but not limited to, the Release, the Final
Approval Order, and the Final Judgment in the Action.

          Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
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If not electronically filed, objections must be mailed with a postmark date no later than December 30, 2024 to:

                        Clerk of Court
                        United States District Court
                        Western District of New York
                        2 Niagara Square
                        Buffalo, New York 14202-3498
                        Re: In Re: Rock ‘N Play Sleeper Marketing, Sales Practices, and Products Liability
                        Litigation, MDL No. 1:19-md-2903

                        Demet Basar
                        James Eubank
                        Paul Evans
                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                        218 Commerce Street
                        Montgomery, Alabama 36104
                        Tel.: (800) 898-2034


                        Matthew P. Kanny
                        GOODWIN PROCTER LLP
                        520 Broadway Street, Suite 500
                        Santa Monica, California 90401
                        Tel: (424) 436-3001

You will not be excluded from the Settlement by filing an objection. If you have submitted a Request for
Exclusion from the Settlement, you cannot file an objection.



 19. What is the difference between objecting and excluding?
Excluding yourself is telling the Court that you do not want to be part of the Settlement Class. If you exclude
yourself, you have no basis to object because the Settlement no longer affects you. Objecting is telling the Court
that you do not like something about the Settlement, the requested Attorneys’ Fees and Expenses, and/or Class
Representatives’ Service Awards. You can object only if you stay in the Settlement Class.

If you are a Settlement Class Member and you do nothing, you will remain a Settlement Class Member and all
of the Court’s orders will apply to you, and you will not be able to sue Defendants over the issues in the lawsuit.




                   F.       THE LAWYERS REPRESENTING YOU
 20. Do I Have Lawyers In This Case?
Yes. The Court has appointed lawyers to represent you and other Settlement Class Members. These lawyers are

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Demet Basar, James Eubank and Paul Evans and are called “Class Counsel.” Their contact information is as
follows:
                Demet Basar
                James Eubank
                Paul Evans
                BEASLEY, ALLEN, CROW, METHVIN, PORTIS & MILES, P.C.
                218 Commerce Street
                Montgomery, Alabama 36104
                Tel.: (800) 898-2034
                Email: Demet.Basar@BeasleyAllen.com
                Email: James.Eubank@BeasleyAllen.com
                Email: Paul.Evans@BeasleyAllen.com

If you want to be represented by another lawyer, you may hire one to appear in Court for you at your own
expense.

 21. How will the lawyers be paid?
The law firms that worked on this lawsuit will ask the Court for attorneys’ fees, in an amount up to $5,320,000,
which represents 28% of the Settlement Fund, and expenses in an amount up to $825,000.

Class Counsel will also ask the Court to award Class Representative Service Awards in an amount of $3,500
for each of the 21 Class Representatives who assisted in the prosecution of this case, participated in discovery,
and were deposed.

The Court must approve the request for Attorneys’ Fees and Expenses and the request for Class Representative
Service Awards. Class Counsel will file the motion for Attorneys’ Fees and Expenses and the request for Class
Representative Service Awards with the Court, which will then be posted on the Settlement Website.

No order of the Court, or modification or reversal or appeal of any order of the Court, concerning the amount(s)
of any Attorneys’ Fees and Expenses awarded by the Court to Class Counsel, or concerning the amounts of any
Class Representative Service Awards that are awarded by the Court to Class Representatives, shall affect
whether the Final Order and Final Judgment are final and shall not constitute grounds for cancellation or
termination of the Settlement.


             G.      THE COURT’S FINAL APPROVAL HEARING
The Court will hold a hearing to decide whether to grant final approval of the Settlement and to consider the
request for Attorneys’ Fees and Expenses, and Class Representative Service Awards. If you have filed a timely
objection and attend the hearing, you may ask to speak (provided you have previously filed a timely notice of
intention to appear), but you do not have to attend or speak.

 22. When and where will the Court decide whether to grant final approval of the
 Settlement?
The Court will hold a Final Approval Hearing at 10:00 a.m. ET on January, 28, 2025, at the United States
District Courthouse, Western District of New York, Buffalo, New York. At this hearing, the Court will consider
whether the Settlement is fair, reasonable, and adequate, and whether to approve the request for Attorneys’ Fees
and Expenses, and the request for Class Representative Service Awards. If there are objections, the Court will

          Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
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consider them. The Court will only listen to people who have met the requirement to speak at the hearing (see
Question 24 below). After the hearing, the Court will decide whether to grant final approval of the Settlement,
and, if so, how much to pay the lawyers representing Class Members and the Class Representatives. We do not
know how long these decisions will take. The Court may reschedule the Final Approval Hearing, so check the
Settlement Website periodically for further updates.

 23. Do I have to come to the hearing?
No. Class Counsel will answer any questions the Court may have. But you and/or your attorney may appear at
your own expense. If you submit an objection, you do not have to come to Court to talk about it – but you can
if you provide advance notice of your intention to appear (see Questions 18 and 24). As long as you filed a
timely written objection with all of the required information with the Court, the Court will consider it. You may
also pay another lawyer to attend, but it is not required.

 24. May I speak at the hearing?
You or your attorney may ask the Court for permission to speak at the Final Approval Hearing. To do so, you
must send a letter saying that it is your “Notice of Intent to Appear” to the Clerk of Court so that it is received
and filed no later than December 30, 2024. You must include your name, address, telephone number, the
identity of all counsel representing the objector, if any, who will appear at the Final Approval Hearing, and
your handwritten signature. Anyone who has requested permission to speak must be present at the start of the
Final Approval Hearing at 10:00 a.m. ET on January 28, 2025. You cannot speak at the hearing if you
excluded yourself from the Class.

                            H.      GETTING MORE INFORMATION
 25. How do I get more information?
This Class Notice summarizes the proposed Settlement. More details are in the Settlement Agreement. You can
get a copy of the Settlement Agreement and other documents and information about the Settlement at
www.FisherPriceRockNPlaySettlement.com. You may also contact the Settlement Administrator with
questions by calling toll-free (833) 522-3524 or by visiting the ‘Contact Us’ page at the Settlement Website,
www.FisherPriceRockNPlaySettlement.com. Requests to update your current address information or to
receive a Claim Form can also be made on the Settlement Website. If you have unresolved questions after
contacting the Settlement Administrator, you may contact Class Counsel at the email addresses and phone
number provided in Question 20.

 26. When will the Settlement be final?
The Settlement will not be final unless and until the Court grants final approval of the Settlement at or after the
Final Approval Hearing and after any appeals are resolved in favor of the Settlement. Please be patient and
check the Settlement Website identified in this Class Notice regularly. Please DO NOT contact the Court. All
questions should be directed to the Settlement Administrator and/or Class Counsel.




          Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
              Please continue to check the Settlement Website as it will be periodically updated.
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                                  Appendix A




   Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
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MODELS OF FISHER-PRICE ROCK ‘N PLAY SLEEPERS

Launch Year           Item            Description
2009                  R6070           NEWBORN RNP SLEEPER
2010                  V9102           RNP SLEEPER - PINK
2010                  V9197           RNP SLEEPER - CIRCLES
2010                  V9196           RNP SLEEPER - BUTTERFLY
2011                  W9443           Newborn Rock n Play Sleeper
2011                  W9442           RNP Sleeper-Gndr Neutral
2011                  X2532           RNP SLEEPER - GIRLS
2011                  X3841           RNP SLEEPER - GIRLS
2011                  X3840           RNP SLEEPER
2011                  X2897           DELUXE RNP SLEEPER - MY L
2012                  Y3440           RNP SLEEPER, EARTHY FLORA
2012                  Y9420           RNP2 SLEEPER MADRAS
2012                  BBK18           RNP2 SLEEPER,TAN CIRCLES
2012                  BBF05           RNP2 SLEEPER,DLX,PLTNM
2012                  X7036           My Little Snugamonkey Del
2012                  X4397           My Little Lamb Platinum R
2012                  BBK13           RNP2 SLEEPER DLX SNGBNNY
2012                  X3842           Dlx RNP Sleeper-Sugar Plu
2013                  BBK19           RNP2 SLEEPER,PINK CIRCLES
2013                  BBK17           RNP2 SLEEPER,GRL GIRAFFE
2013                  BBK16           RNP2 SLEEPER EARTHY FLRL
2013                  BBK15           RNP2 SLEEPER GEN NTRL
2013                  BBK14           RNP2 SLEEPER YELLOW
2013                  BCG44           RNP3 SLEEPER,GIRLS,BRU
2013                  BCG43           RNP3 SLEEPER,GN,BRU
2013                  BCT91           RNP3 SLEEPER, SIG STYLE
2013                  BGB05           RNP3 SLEEPER,GIRLS
2013                  BGB04           RNP3 SLEEPER,GEN NTRL
2013                  BHL58           RNP3 SLEEPER,GIRL
2013                  BHV58           RNP3 SLEEPER,MADRAS
2013                  BHV57           RNP3 SLEEPER DUCKY
2013                  BHV56           RNP3 SLEEPER,PINK GIRAFFE
2013                  BHV55           RNP3 SLEEPER,YELLOW
2013                  BMC93           RNP3 SLEEPER,TEAL TEMPO
2013                  BMH13           FFP RNP SLEEPER, SS
2013                  BMM25           FFP RNP SLEEPER GN
2013                  BBT59           RNP3 SLEEPER,DLX,SNUGA
2013                  BHV60           RNP3 SLEEPER,SWEETIE
2013                  CBC59           FFP RNP SLEEPER SNUGA
2013                  BHV62           RNP3 SLEEPER,SNUGABUNNY
2013                  BBK20           RNP2 SLEEPER,DLX,SNGMNKY

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2013                    BHV63           RNP3 SLEEPER,DLX,MONKEY
2013                    BHV61           RNP3 SLEEPER PLATINUM
2013                    BBK11           RNP2 SLEEPER,DLX,SWEETIE
2013                    BGB20           DLX RNP SNUGAMONKEY TGT
2013                    BGB03           DLX SLEEPER SNUGAKITTY
2013                    BMM26           FFP DLX RNP SLEEPER SWEET
2013                    X7314           RNP3 SLEEPER,DLX,ML,SNUG
2014                    BGB21           RNP3 SLEEPER-MADRAS
2014                    BMM97           RNP3 SLEEPER, LUMINOSITY
2014                    CHP44           RNP SLEEPER - GIRL WM
2014                    CHP39           RNP SLEEPER - GN WM
2014                    CHP38           BASIC RNP GIRL- TGT
2014                    CKF17           RNP SLEEPER GN-BRU
2014                    CKF13           RNP SLEEPER GIRL-BRU
2014                    CHN29           RNP SLEEPER SNUGABEAR-WM
2014                    CBJ22           RNP3 SLEEPER,SNUGABUG
2014                    BBK12           RNP2 SLEEPER DLX SGR PLM
2014                    CHX77           RNP SLEEPER SNUGA - AMZ
2014                    CHN28           RNP SLEEPER AR-NAT
2014                    CHN21           RNP SLEEPER AR-TGT
2014                    CHN08           BASIC RNP W AUTO ROCK GN
2014                    BGB17           RNP3 SLEEPER DLX LIL LAMB
2014                    CHN19           RNP SLEEPER AR GN
2014                    CHN22           RNP SLEEPER AR SAFARI BBB
2015                    CMR03           RNP SLEEPER
2015                    CMP97           BASIC RNP SLEEPER
2015                    CMP96           BASIC RNP SLEEPER
2015                    CLV93           RNP SLEEPER SNUGA GIRL-WM
2015                    DMK42           SAM S RNP SLEEPER PALLET
2015                    CMP88           PLUSH RNP
2015                    DGC01           RNP3 SLEEPER,DLX,ML,SNUG
2015                    CMP78           PLUSH RNP
2015                    CMP82           PLUSH RNP
2015                    DGC30           RNP SLEEPER AR-NAT
2015                    CMR04           RNP SLEEPER
2015                    CMP94           SMART CONNECT RNP
2016                    CLH35           RNP SLEEPER
2016                    CLH34           RNP SLEEPER
2016                    DYR04           CARNIVAL RNP SLEEPER
2016                    DRD29           BASIC RNP GN
2016                    DRD30           BASIC RNP GIRL
2016                    DPV74           DELUXE PLUSH SLEEPER
2016                    DYR02           AUTO RNP GIRL- TGT
2016                    DVG18           AR RNP INCR- BBB

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2016                    DMJ23           RNP SLEEPER AUTO ROCK
2016                    DMJ24           RNP SLEEPER AUTO ROCK
2016                    DMJ22           RNP SLEEPER AUTO ROCK
2016                    DNT29           BASIC RNP SLEEPER
2016                    CMP90           COMFY CLOUD RNP SLEEPER
2016                    CMP93           SC PLUSH RNP-BBB
2016                    DNK64           SC AUTO RNP
2016                    DPV51           DLX RNP SLEEPER
2016                    FBR67           PREMIUM RNP - B
2016                    FCF09           PREMIUM RNP- NAT
2016                    DPN50           JA RNP SLEEPER
2017                    FMN52           BASIC RNP SLEEPER A
2017                    DTG90           BASIC RNP - GIRL
2017                    FMC42           BASIC RNP GN - A
2017                    DTG89           BASIC RNP - GN
2017                    FTM98           BASIC SLEEPER GN EC
2017                    DTG87           PUPPY PLUSH RNP - GN
2017                    FTX92           RNP SLEEPER AUTO ROCK FFP
2017                    DTG91           AUTO ROCK - GIRL
2017                    FTM05           ARNP SLEEPER GN 1
2017                    DTG84           DLX AUTO RNP - GN
2017                    FPH46           PREMIUM RNP A
2018                    FPX99           BASIC RNP SLEEPERGIRL BRU
2018                    FPX98           BASIC RNP SLEEPER -GN BRU
2018                    FPY01           AUTO RNP SLEEPER GN WMT
2018                    GFJ98           ARNP - GN
2018                    GHP27           ARNP - GN
2018                    FXV25           ARNP SLEEPER
2018                    FWB13           DELUXE ARNP SLEEPER A
2018                    FXF52           SC DLX ARNP SLEEPER
2018                    FMC41           SCARNP PLUSH SLEEPER
2018                    FVL67           JA RNP SLEEPER
2019                    GGD44           PUPPY PLUSH RNP - GN FFP
2019                    GGD42           SC AUTO RNP FFP




       Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
           Please continue to check the Settlement Website as it will be periodically updated.
                PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT
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                                  Appendix B




   Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
       Please continue to check the Settlement Website as it will be periodically updated.
            PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT
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VII. RELEASE AND WAIVER

        A.      In consideration of the benefits provided to the Settlement Class Members by

Defendants as described in this Settlement Agreement, upon the Effective Date, each Settlement

Class Member, on his or her own behalf and on behalf of his or her respective predecessors,

successors, assigns, assignors, representatives, attorneys, agents, trustees, insurers, heirs, estates,

beneficiaries, executors, administrators, and any natural, legal, or juridical person or entity to the

extent he, she, or it is or will be entitled to assert any claim on behalf of any Class Member (the

“Releasors”), hereby waive and release, forever discharge and hold harmless the Released Parties,

and each of them, of and from any and all past, present and future claims, counterclaims, actions,

rights or causes of action, liabilities, suits, demands, damages, losses, payments, judgments, debts,

dues, sums of money, costs and expenses (including, without limitation, attorneys’ fees and costs),

accounts, bills, covenants, contracts, controversies, agreements, obligations, or promises, in law or

in equity, contingent or non-contingent, known or unknown, suspected or unsuspected, foreseen or

unforeseen, matured or unmatured, accrued or unaccrued, liquidated or unliquidated, whether

patent or latent, concealed or overt, direct, representative, class or individual in nature, in any forum

(“Claims”) that the Releasors, and each of them, had, has, or may have in the future arising out of,

in any way relating to, or in connection with, the RNPS that were or could have been asserted in

the Action, including claims alleging false advertising, breach of implied warranties, Released

Parties’ statements or omissions or conduct regarding the Recall, and Released Parties’ marketing,

representations or omissions regarding the RNPS, including relating to the safety, detection or

resolution of alleged concerns regarding the RNPS, including unknown claims (“Released

Claims”); provided, however, that the Released Claims shall not include claims for wrongful death,

personal injury and property damage.


        Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
            Please continue to check the Settlement Website as it will be periodically updated.
                 PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT
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       B.      The Final Approval Order will include this same Release language.

       C.      Class Representatives, on behalf of the other Settlement Class Members and

through Class Counsel, expressly agree that this Release and the Final Approval Order and Final

Judgment is, will be, and may be raised as a complete defense to, and will preclude any action or

proceeding encompassed by, this Release.

       D.      Class Representatives and Settlement Class Members shall not now or hereafter

institute, maintain, prosecute, assert, and/or cooperate in the institution, commencement, filing, or

prosecution of any suit, action, and/or proceeding, against the Released Parties, either directly or

indirectly, on their own behalf, on behalf of a class or on behalf of any other person or entity with

respect to the claims, causes of action and/or any other matters released through this settlement

and the Settlement Agreement.

       E.      In connection with the Settlement Agreement, Class Representatives, on behalf of

themselves and the other Settlement Class Members, acknowledge that they and other Settlement

Class Members may hereafter discover claims presently unknown or unsuspected, or facts in addition

to or different from those that they now know or believe to be true concerning the subject matter of

the Action and/or the Release herein. Nevertheless, it is the intention of Class Counsel and Class

Representatives in executing this Settlement Agreement to fully, finally, and forever settle, release,

discharge, and hold harmless all such matters, and all claims relating thereto which exist, hereafter

may exist, or might have existed (whether or not previously or currently asserted in any action or

proceeding) with respect to the Action and Released Claims, provided, however, that Class

Representatives and the other Settlement Class Members are not releasing claims for personal injury,

wrongful death or physical property damage from the RNPS.




       Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
           Please continue to check the Settlement Website as it will be periodically updated.
                PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT
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        F.      In consideration of the benefits provided to the Settlement Class Members by

Defendants as described in this Settlement Agreement, upon the Effective Date, Releasors shall

further be deemed to have waived and released any and all provisions, rights, and benefits

conferred by Section 1542 of the Civil Code of the State of California or similar laws of any other

state or jurisdiction to the extent applicable.

        SECTION 1542 OF THE CALIFORNIA CIVIL CODE READS:

        A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
        CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT
        TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
        RELEASE AND THAT, IF KNOWN BY HIM OR HER WOULD HAVE
        MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
        DEBTOR OR RELEASED PARTY.

        G.      Class Representatives represent and warrant that they are the sole and exclusive

owners of all claims that they personally are releasing under this Settlement Agreement. Class

Representatives further acknowledge that they have not assigned, pledged, or in any manner

whatsoever sold, transferred, assigned, or encumbered any right, title, interest, or claim arising out

of or in any way whatsoever pertaining to the Action, including, without limitation, any claim for

benefits, proceeds, or value under the Action, and that Class Representatives are not aware of

anyone other than themselves claiming any interest, in whole or in part, in the individual claims that

they are releasing under the Settlement Agreement or in any benefits, proceeds, or values in the

individual claims that they are releasing under the Settlement Agreement.




       Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
           Please continue to check the Settlement Website as it will be periodically updated.
                PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT
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       H.      In consideration for the Settlement Agreement, upon the Effective Date, Mattel and

Fisher-Price and their past or present officers, directors, employees, agents, attorneys, predecessors,

successors, affiliates, subsidiaries, divisions, successors and assigns shall be deemed to have, and by

operation of the Final Approval Order and Final Judgment, shall have released Plaintiffs’ Counsel,

Class Counsel, and each Class Representative from any and all causes of action that were or could

have been asserted pertaining solely to the conduct in filing and prosecuting the litigation or in

settling the Action.

       I.      Class Representatives, Plaintiffs’ Counsel, Class Counsel, and any other attorneys

who receive Attorneys’ Fees and Expenses from this Settlement Agreement acknowledge that they

have conducted sufficient independent investigation and discovery to enter into this Settlement

Agreement and, by executing this Settlement Agreement, state that they have not relied upon any

statements or representations made by the Released Parties or any person or entity representing the

Released Parties, other than as set forth in this Settlement Agreement.

       J.      The Parties specifically understand that there may be further pleadings, discovery

requests and responses, testimony, or other matters or materials owed by the Parties pursuant to

existing pleading requirements, discovery requests, or pretrial rules, procedures, or orders, and

that, by entering into this Settlement Agreement and the occurrence of the Effective Date, the

Parties expressly waive any right to receive, hear, or inspect such pleadings, testimony, discovery,

or other matters or materials.




       Questions? Call toll-free (833) 522-3524 or visit www.FisherPriceRockNPlaySettlement.com.
           Please continue to check the Settlement Website as it will be periodically updated.
                PLEASE DO NOT CALL THE JUDGE OR THE CLERK OF COURT
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         K.     Nothing in this Release shall preclude any action to enforce the terms of the

         Settlement Agreement in the Court.

         L.     The Parties represent and warrant that no promise or inducement has been offered

or made for the Releases contained in this Section VII except as set forth in this Settlement

Agreement and that the Releases are executed without reliance on any statements or any

representations not contained in this Settlement Agreement.

         M.     Class Representatives and Class Counsel hereby agree and acknowledge that the

provisions of this Release together constitute an essential and material term of the Settlement

Agreement and shall be included in any Final Judgment and Final Approval Order entered by the

Court.
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 Claims Deadline:
                         Fisher-Price Rock ‘N Play Settlement Claim Form
  April 29, 2025         In Re: Fisher-Price Rock ‘N Play Sleeper Marketing, Sales Practices, and    For Office Use
  or ninety (90) days              Products Liability Litigation, MDL No. 1:19-md-2903                    Only
 after Final Approval,                U.S. District Court Western District Of New York
   whichever is later



If you would like to file a Claim for a Settlement Payment in the Fisher-Price Rock ‘N Play Sleeper (“RNPS”)
Settlement, please complete and submit this Claim Form in accordance with the instructions below. You may
submit a Claim for a Settlement Payment only if you: (1) participated in the April 2019 Recall of the RNPS
before September 6, 2024, and received a voucher or a Fisher-Price toy; (2) currently have an RNPS in your
possession; or (3) previously purchased a new RNPS but did not participate in the April 2019 Recall.

To determine whether you are a Class Member eligible to make a claim, or for more information regarding
the class action settlement, please first visit www.FisherPriceRockNPlaySettlement.com. If you still have
questions regarding the claims process, call the Settlement Administrator toll-free at (833) 522-3524.

For faster claim processing or the option to select an electronic payment method, you may fill out a Claim
Form online at www.FisherPriceRockNPlaySettlement.com, or you may complete, sign and mail this
Claim Form via first-class mail to:
                                         Settlement Administrator - 83052
                                     c/o Kroll Settlement Administration LLC
                                                   P.O. Box 5324
                                           New York, NY 10150-5324

Claim Forms submitted by mail will receive any Settlement Payment by physical check.

If you want to submit a claim for more than one (1) RNPS, you must complete and submit a separate
Claim Form for each one.
Claim Forms must be submitted online or postmarked by April 29, 2025, or ninety (90) days after the
Court’s issuance of the Final Approval Order and Final Judgment, whichever is later. If you fail to
timely and fully complete this Claim Form and submit any required Proof of Purchase and/or Proof
of Disablement, your Claim may be denied. If your Claim is denied, you will not receive a Settlement
Payment on your Claim. The Settlement Administrator has the right to request verification of eligibility
to participate in this Settlement.
Important: Keep a copy of your completed Claim Form, as well as any Proof of Purchase and/or Proof of
Disablement. Any documents you submit with your Claim Form will not be returned. Do not send original
documents.




                         For more information or to submit a Claim Form online, visit
                                www.FisherPriceRockNPlaySettlement.com.
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 Claims Deadline:
                         Fisher-Price Rock ‘N Play Settlement Claim Form
  April 29, 2025         In Re: Fisher-Price Rock ‘N Play Sleeper Marketing, Sales Practices, and    For Office Use
  or ninety (90) days              Products Liability Litigation, MDL No. 1:19-md-2903                    Only
 after Final Approval,                U.S. District Court Western District Of New York
   whichever is later




1.    Claimant Information


First Name: _________________________________ Last Name: ________________________________________


Address: ______________________________________________________________________________________


Address 2: ___________________________________________________________________________________


City: _______________________________________ State: ____ ____ Zip Code: ____ ____ ____ ____ ____


Current Phone Number: ( ____ ____ ____) - ____ ____ ____ - ____ ____ ____ ____


Email: _______________________________________________@______________________________________


Unique Claimant ID: 8 3 0 5 2 ____ ____ ____ ____ ____ ____ ____ ____


2. Did you previously return the RNPS as part of the Recall?

If you returned the hubs to an RNPS as part of the Recall prior to September 6, 2024, and received a voucher
or a Fisher-Price toy, you will be entitled to receive a Settlement Payment of $10 for each RNPS returned.

      Yes – I previously returned the hub of an RNPS or the RNPS itself as part of the Recall and
        received a voucher or a Fisher-Price toy.
        If you select ‘Yes’, you must provide the Unique Claimant ID that was included on your Direct Notice
        in section 1 above. You may then skip directly to section 6.

      No – I did not previously return the hub of an RNPS or the RNPS itself as part of the Recall.
        If you select ‘No’, move to the next section.


                         For more information or to submit a Claim Form online, visit
                                www.FisherPriceRockNPlaySettlement.com.
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3. Do you have the RNPS in your possession?

If you have your RNPS in your possession, you must provide Proof of Disablement with this Claim Form in
order to receive a Settlement Payment. Proof of Disablement means photographs showing, in full, all of the
following:
(i)       the liner of the RNPS, detached from the frame and cut along the length of the product from head to
          toe and along the frame, such that it is no longer attached to the frame;

(ii)      the pad removed from the RNPS and cut so it can no longer be attached to the product;

(iii)     your Unique Claimant ID written in permanent marker on the fabric that has been cut. Your Unique
          Claimant ID can be found on your Direct Notice or, if you did not receive Direct Notice, provided
          to you when you registered on the Settlement Website, written in permanent marker on the fabric
          that has been cut; and

(iv)      the product number and date code on the inside of the hub of the RNPS.


For more information on Proof of Disablement, including written and video step-by-step directions on how
to accurately perform and document disablement, please visit www.FisherPriceRockNPlaySettlement.com.

       Yes – I have the RNPS in my possession.
         If you select ‘Yes’, you must submit Proof of Disablement with this Claim Form.

                Product Number (5-character code): _____________________________

                Date Code (7-character code): __________________________________

         The Date Code and Product Number are located on the inside of one of the hubs.


       No – I do not have the RNPS in my possession.
         If you select ‘No’, did you destroy or discard the Product?

                 Yes – I attest that I destroyed or discarded the Product.
                 No – I did not destroy or discard the Product.




                        For more information or to submit a Claim Form online, visit
                               www.FisherPriceRockNPlaySettlement.com.
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4. Do you have Proof of Purchase?
If you have Proof of Purchase, you may be entitled to a higher Settlement Payment than if you do not. Proof
of Purchase means a receipt or order confirmation from a retailer, credit card statement, canceled check, or
other reasonable or practicable physical evidence as may be accepted by the Settlement Administrator, that
shows the date of purchase and the purchase price of the RNPS. The Proof of Purchase must show the date
of purchase and the amount paid for the RNPS. Return the requested documentation with this Claim Form
and enter the date of purchase from the documentation below.

    Yes – I have Proof of Purchase.
        If you select ‘Yes’, you must submit such proof with this Claim Form and enter the information
        below:

               Purchase Date: ____ ____ / ____ ____ / ____ ____ ____ ____

               Purchase Price: $_________________

    No – I do not have Proof of Purchase.
        If you select ‘No’, enter the information below:

               Product Name/Model: _____________________________________


5. If you purchased a Product, did you purchase a new or used Product?

    The Product was purchased new.
    The Product was purchased used.
    I did not purchase the Product but received the Product as a gift.
    I did not purchase the Product or receive the Product as a gift.
6. Affirmation and Signature

By signing and submitting this Claim Form, I affirm under the penalty of perjury of the laws of the United
States that the information I am providing is true and correct to the best of my knowledge and belief, I am
over the age of 18, and I wish to claim my share of the Settlement Fund.



Signature: ___________________________________ Date: ____ ____ / ____ ____ / ____ ____ ____ ____



                       For more information or to submit a Claim Form online, visit
                              www.FisherPriceRockNPlaySettlement.com.
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            Exhibit G
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Subject: Reminder - Notice of Rock ’N Play Sleeper Class Action Settlement
________________________________________________________________

Unique Claimant ID: <<Refnum>>

On <<Notice Date>>, you were sent a Court-Ordered Legal Notice regarding a $19 million
Settlement that was preliminarily approved by the Court in a class action lawsuit against Fisher-
Price, Inc. and Mattel, Inc. (“Defendants”) concerning the Fisher-Price Rock ‘n Play Sleeper
(“RNPS”). The lawsuit is called In Re: Fisher-Price Rock ’N Play Sleeper Marketing, Sales
Practices, and Products Liability Litigation, MDL No. 1:19-md-2903-GWC, pending in the United
States District Court for the Western District of New York. The Settlement Class Members include
all persons who live in United States, the District of Columbia, Puerto Rico, or any United States
territories and/or possessions, and (a) purchased (including to be given as a gift to another Person)
or acquired (including by gift) an RNPS, or (b) have an RNPS in their possession. All models of
the RNPS are covered by this Settlement.

This email is to remind you that the deadline to submit a claim, if you choose to do so, is April
29, 2025, or ninety (90) days after the Court’s issuance of the Final Approval Order and Final
Judgment, whichever is later. Currently, the Final Approval Hearing is set on January 28, 2025, at
10:00 a.m. ET at United States District Court, Western District of New York, 2 Niagara Square,
Buffalo,    NY      14202. You      may       submit    your    Claim       Form     online     at
www.FisherPriceRockNPlaySettlement.com or download and mail your Claim Form to:
Settlement Administrator – 83052, c/o Kroll Settlement Administration LLC, PO Box 5324, New
York, NY 10150-5324.

If you are a Settlement Class Member and choose to file a claim, what you are eligible to receive
depends on several factors, including when you purchased the RNPS, whether you previously
participated in the RNPS Recall, and whether you currently own the RNPS. If you are a current
owner, you may be eligible for a cash benefit of between $40 and a full refund if you submit proof
that you disabled your product as shown on the video on the settlement website. You may submit
a claim for a settlement payment online on the settlement website or by mail in accordance with
the instructions on the website.

If you currently own an RNPS, you cannot participate in both the Fisher-Price Recall and the Class
Action Settlement.

This is only a summary. If you have questions or want more information about this notice, the
lawsuit,    the   Settlement,    and     your     rights  under      the   Settlement,  visit
www.FisherPriceRockNPlaySettlement.com, call toll-free (833) 522-3524, or write to:
Settlement Administrator – 83052, c/o Kroll Settlement Administration LLC, PO Box 5324, New
York, NY 10150-5324.

Please check the settlement website periodically as it will be updated from time to time. Important
deadlines may change, including the date of the Final Approval Hearing.
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Subject: Reminder - Notice of Rock ’N Play Sleeper Class Action Settlement
________________________________________________________________

Unique Claimant ID: <<RefNum>>

On <<Notice Date>>, you were sent a Court-Ordered Legal Notice regarding a $19 million
Settlement that was preliminarily approved by the Court in a class action lawsuit against Fisher-
Price, Inc. and Mattel, Inc. (“Defendants”) concerning the Fisher-Price Rock ‘n Play Sleeper
(“RNPS”). The lawsuit is called In Re: Fisher-Price Rock ’N Play Sleeper Marketing, Sales
Practices, and Products Liability Litigation, MDL No. 1:19-md-2903-GWC, pending in the United
States District Court for the Western District of New York. The Settlement Class Members include
all persons who live in United States, the District of Columbia, Puerto Rico, or any United States
territories and/or possessions, and (a) purchased (including to be given as a gift to another Person)
or acquired (including by gift) an RNPS, or (b) have an RNPS in their possession. All models of
the RNPS are covered by this Settlement.

This email is to remind you that the deadline to submit a claim, if you choose to do so, is May 29,
2025, or ninety (90) days after the Court’s issuance of the Final Approval Order and Final
Judgment, whichever is later. The date of the Final Approval Hearing has been moved and is now
set on February 28, 2025, at 10:00 a.m. ET at United States District Court, Western District of New
York, 2 Niagara Square, Buffalo, NY 14202. You may submit your Claim Form online at
www.FisherPriceRockNPlaySettlement.com or download and mail your Claim Form to:
Settlement Administrator – 83052, c/o Kroll Settlement Administration LLC, PO Box 5324, New
York, NY 10150-5324.

If you are a Settlement Class Member and choose to file a claim, what you are eligible to receive
depends on several factors, including when you purchased the RNPS, whether you previously
participated in the RNPS Recall, and whether you currently own the RNPS. If you are a current
owner, you may be eligible for a cash benefit of between $40 and a full refund if you submit proof
that you disabled your product as shown on the video on the settlement website. You may submit
a claim for a settlement payment online on the settlement website or by mail in accordance with
the instructions on the website.

If you currently own an RNPS, you cannot participate in both the Fisher-Price Recall and the Class
Action Settlement.

This is only a summary. If you have questions or want more information about this notice, the
lawsuit,    the   Settlement,    and     your     rights  under      the   Settlement,  visit
www.FisherPriceRockNPlaySettlement.com, call toll-free (833) 522-3524, or write to:
Settlement Administrator – 83052, c/o Kroll Settlement Administration LLC, PO Box 5324, New
York, NY 10150-5324.

Please check the settlement website periodically as it will be updated from time to time. Important
deadlines may change, including the date of the Final Approval Hearing.
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                Exhibit I
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3-GWC   Document 367-1   Filed 02/21/2
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               Exhibit J
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WHO IS INCLUDED?
You are included in the settlement as a Settlement Class Member if you live in United States, the District of
Columbia, Puerto Rico, or any United States territories and/or possession and (a) you purchased or
acquired (including by gift) a RNPS for or on behalf of themselves or to be given as a gift, or (b) you
currently have a RNPS in your possession. All models of the RNPS are covered by this Settlement – a full
list is available on the website.


WHAT DOES THE SETTLEMENT PROVIDE?
The Settlement provides $19,000,000.00 to pay approved claims. You can receive cash payments as
follows: (1) If you received a voucher or toy for returning a RNPS according to the Recall, you can get $10.
(2) If you currently own a RNPS, or you previously purchased a new RNPS, you can get up to the purchase
price depending on if you still have the RNPS, the price you paid, if you have proof-of-purchase, and the
date product was purchased/manufactured.


WHAT ARE YOUR RIGHTS?



      File a Claim: You must file a claim to get any money from the Settlement. The deadline to file a claim
      is April 29, 2025. You may file your Claim Form online or download a claim form at
      FisherPriceRockNPlaySettlement.com.
      Do Nothing: If you do nothing, you will not receive money, but will be legally bound by decisions of
      the Court and give up any right to sue for the claims resolved by this settlement.
      Object: You can tell the court what you don't like about the Settlement but remain a Settlement Class
      Member entitled money. The deadline to object is December 30, 2024.
      Exclude Yourself ("Opt-out"): If you exclude yourself, you will not receive money, but you keep the
      right to sue for the claims resolved by this settlement. The deadline to exclude yourself is December
      30, 2024.



For details on how to file a claim, object, or exclude yourself ("opt-out"), visit
FisherPriceRockNPlaySettlement.com or call (833) 522-3524.



WHEN IS THE FAIRNESS HEARING?
The Court will hold a hearing on January 28, 2025, at 10:00 a.m. ET at United States District Court Western
District of New York, 2 Niagara Square, Buffalo, New York 14202-3498 to hear any objections, determin          f
the Settlement is fair, and to consider attorney's fees of 28% of the settlement fund, expenses of up
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Si actualmente posee un RNPS, NO use su producto bajo ninguna circunstancia. En su lugar,
deshabilite su producto como se muestra en el video en www.FisherPriceRockNPlaySettlement.com y
siga las instrucciones para presentar un Formulario de reclamación para recibir un pago en efectivo en
virtud del Acuerdo.



¿QUIÉN ESTÁ INCLUIDO?
Usted está incluido en el Acuerdo como Miembro de la Clase del Acuerdo si vive en los Estados Unidos, el
Distrito de Columbia, Puerto Rico o cualquier territorio y/o posesión de los Estados Unidos y (a) compró o
adquirió (incluso por regalo) un RNPS para o en nombre de ellos mismos o para ser dado como regalo, o
(b) actualmente tiene un RNPS en su posesión. Todos los modelos del RNPS están cubiertos por este
Acuerdo – una lista completa está disponible en el sitio web.


¿QUÉ PROPORCIONA EL ACUERDO?
El Acuerdo proporciona $ 19,000,000.00 para pagar las reclamaciones aprobadas. Puede recibir pagos en
efectivo de la siguiente manera: (1) Si recibió un cupón o juguete para devolver un RNPS de acuerdo con el
Retiro, puede obtener $ 10. (2) Si actualmente posee un RNPS, o si compró previamente un nuevo RNPS,
puede obtener hasta el precio de compra dependiendo de si todavía tiene el RNPS, el precio que pagó, si
tiene un comprobante de compra y la fecha en que se compró/fabricó el producto.


¿CUÁLES SON SUS DERECHOS?



     Presentar una reclamación: debe presentar una reclamación para obtener dinero del Acuerdo. La
     fecha límite para presentar una reclamación es el 29 de abril de 2025. Puede presentar su
     Formulario de reclamación en línea o descargar un formulario de reclamación en
     FisherPriceRockNPlaySettlement.com.
     No hacer nada: si no hace nada, no recibirá dinero, pero estará legalmente obligado por las
     decisiones del Tribunal y renunciará a cualquier derecho a demandar por las reclamaciones resueltas
     por este acuerdo.
     Objeto: Puede decirle al tribunal lo que no le gusta del Acuerdo, pero seguir siendo un Miembro de
     la Clase del Acuerdo con derecho a dinero. La fecha límite para objetar es el 30 de diciembre de
     2024.
     Excluirse ("Opt-out"): si se excluye, no recibirá dinero, pero conserva el derecho de demandar por
     los reclamos resueltos por este acuerdo. La fecha límite para excluirse es el 30 de diciembre de
     2024.
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Para obtener detalles sobre cómo presentar una reclamación, objetar o excluirse ("exclusión voluntaria"),
visite FisherPriceRockNPlaySettlement.com o llame al (833) 522-3524.


¿CUÁNDO ES LA AUDIENCIA DE IMPARCIALIDAD?
El Tribunal celebrará una audiencia el 28 de enero de 2025, a las 10:00 a.m. ET en el Tribunal de Distrito
de los Estados Unidos del Distrito Oeste de Nueva York, 2 Niagara Square, Buffalo, Nueva York 14202-
3498 para escuchar cualquier objeción, determinar si el Acuerdo es justo y considerar los honorarios de
abogados del 28 % del fondo del Acuerdo, los gastos de hasta $ 825,000 y las adjudicaciones
representativas de la clase de $ 3,500. La moción de honorarios y gastos de abogados, y las
adjudicaciones de servicios representativos de la clase se publicarán en el sitio web del acuerdo después
de que se presente. Los Miembros de la Clase pueden asistir a la Audiencia, a su propio costo, pero no
están obligados a hacerlo.


Esto es solo un resumen. Si tiene preguntas o desea más información sobre esta demanda, el Acuerdo y
sus derechos en virtud del Acuerdo, visite FisherPriceRockNPlaySettlement.com, llame al (833) 522-3524o
escriba a: Fisher Price Rock N' Play Settlement, c/o Kroll Settlement Administration LLC, P.O. Box 5324,
New York, NY 10150-5324.


FUENTE Kroll Settlement Administration
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If you currently own or previously purchased a Fisher Price Rock 'n Play Sleeper, you could get money from a

Class Action Settlement
Total Exact Matches: 361

 Logo        Outlet Name                                Location   Source Type                 Industry                  Potential
                                                                                                                         Audience


             Benzinga                                   United     Online News Sites & Other   Financial             11,940,583 [1]
             Online  View Release                      States     Influencers                                       visitors/month




             KTLA [Los Angeles, CA]                     United     Broadcast Media             Media & Information    7,073,654 [1]
             Online  View Release                      States                                                       visitors/month




             PR Newswire                                Global     PR Newswire                 Media & Information    5,590,155 [1]
             Online  View Release                                                                                   visitors/month




             WFLA [Tampa, FL]                           United     Broadcast Media             Media & Information    4,950,418 [1]
             Online  View Release                      States                                                       visitors/month




             WJW-TV FOX-8 [Cleveland, OH]               United     Broadcast Media             Media & Information    4,127,594 [1]
             Online  View Release                      States                                                       visitors/month




             WXIN-TV FOX-59 [Indianapolis, IN]          United     Broadcast Media             Media & Information    3,161,353 [1]
             Online  View Release                      States                                                       visitors/month




             KXAN-TV NBC-36 [Austin, TX]                United     Broadcast Media             Media & Information    2,755,722 [1]
             Online  View Release                      States                                                       visitors/month




             KTVI-TV FOX-2 [St. Louis, MO]              United     Broadcast Media             Media & Information    2,367,016 [1]
             Online  View Release                      States                                                       visitors/month




             WGN [Chicago, IL]                          United     Broadcast Media             Media & Information    2,152,454 [1]
             Online  View Release                      States                                                       visitors/month




             KDVR [Denver, CO]                          United     Broadcast Media             Media & Information    2,091,917 [1]
             Online  View Release                      States                                                       visitors/month




             WKRN [Nashville, TN]                       United     Broadcast Media             Media & Information    2,003,550 [1]
             Online  View Release                      States                                                       visitors/month




             KSWB [San Diego, CA]                       United     Broadcast Media             Media & Information    1,837,749 [1]
             Online  View Release                      States                                                       visitors/month




             KRON [San Francisco, CA]                   United     Broadcast Media             Media & Information    1,774,145 [1]
             Online  View Release                      States                                                       visitors/month




             WGHP [Greensboro, NC]                      United     Broadcast Media             Media & Information    1,653,457 [1]
             Online  View Release                      States                                                       visitors/month




             WPIX-TV CW-11 [New York, NY]               United     Broadcast Media             Media & Information    1,648,704 [1]
             Online  View Release                      States                                                       visitors/month




             WAVY-TV NBC-10 [Portsmouth, VA]            United     Broadcast Media             Media & Information    1,625,198 [1]
             Online  View Release                      States                                                       visitors/month
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  WDAF [Kansas City, MO]                    United   Broadcast Media              Media & Information    1,417,348 [1]
  Online  View Release                     States                                                      visitors/month




  WCMH [Columbus, OH]                       United   Broadcast Media              Media & Information    1,404,208 [1]
  Online  View Release                     States                                                      visitors/month




  Webull                                    United   Financial Data, Research &   Financial              1,326,798 [1]
  Online  View Release                     States   Analytics                                          visitors/month




  WRIC [Richmond, VA]                       United   Broadcast Media              Media & Information    1,290,843 [1]
  Online  View Release                     States                                                      visitors/month




  KOIN-TV CBS-6 [Portland, OR]              United   Broadcast Media              Media & Information    1,243,184 [1]
  Online  View Release                     States                                                      visitors/month




  KTVX [Salt Lake City, UT]                 United   Broadcast Media              Media & Information    1,202,282 [1]
  Online  View Release                     States                                                      visitors/month




  WNCN [Raleigh, NC]                        United   Broadcast Media              Media & Information    1,194,115 [1]
  Online  View Release                     States                                                      visitors/month




  KLAS-TV CBS-8 [Las Vegas, NV]             United   Broadcast Media              Media & Information    1,188,973 [1]
  Online  View Release                     States                                                      visitors/month




  WOOD [Grand Rapids, MI]                   United   Broadcast Media              Media & Information    1,147,492 [1]
  Online  View Release                     States                                                      visitors/month




  KFOR [Oklahoma City, OK]                  United   Broadcast Media              Media & Information    1,135,961 [1]
  Online  View Release                     States                                                      visitors/month




  KTXL [Sacramento, CA]                     United   Broadcast Media              Media & Information    1,089,889 [1]
  Online  View Release                     States                                                      visitors/month




  KRQE [Albuquerque, NM]                    United   Broadcast Media              Media & Information       968,199 [1]
  Online  View Release                     States                                                      visitors/month




  WHTM [Harrisburg, PA]                     United   Broadcast Media              Media & Information       964,259 [1]
  Online  View Release                     States                                                      visitors/month




  WTNH [New Haven, CT]                      United   Broadcast Media              Media & Information       958,827 [1]
  Online  View Release                     States                                                      visitors/month




  WKBN-TV CBS-27 [Youngstown, OH]           United   Broadcast Media              Media & Information       917,545 [1]
  Online  View Release                     States                                                      visitors/month




  WATE [Knoxville, TN]                      United   Broadcast Media              Media & Information       906,136 [1]
  Online  View Release                     States                                                      visitors/month




  WWLP-TV NBC-22 [Springfield, MA]          United   Broadcast Media              Media & Information       895,235 [1]
  Online  View Release                     States                                                      visitors/month




  WREG [Memphis, TN]                        United   Broadcast Media              Media & Information       850,584 [1]
  Online  View Release                     States                                                      visitors/month




  WPRI/WNAC [Providence, RI]                United   Broadcast Media              Media & Information       787,926 [1]
  Online  View Release                     States                                                      visitors/month
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                 WDTN/WBDT [Dayton, OH]                                    United   Broadcast Media        Media & Information       711,490 [1]
                 Online  View Release                                     States                                                visitors/month




The Times of     The Times of Northwest Indiana, Munster, Indiana          United   Newspaper              Media & Information       704,475 [1]
Northwest        Online  View Release                                     States                                                visitors/month
Indiana,
Munster,
Indiana


                 KHON [Honolulu, HI]                                       United   Broadcast Media        Media & Information       643,996 [1]
                 Online  View Release                                     States                                                visitors/month




                 KSNW [Wichita, KS]                                        United   Broadcast Media        Media & Information       604,897 [1]
                 Online  View Release                                     States                                                visitors/month




                 WANE [Fort Wayne, IN]                                     United   Broadcast Media        Media & Information       595,453 [1]
                 Online  View Release                                     States                                                visitors/month




                 WBRE/WYOU [Wilkes-Barre, PA]                              United   Broadcast Media        Media & Information       595,400 [1]
                 Online  View Release                                     States                                                visitors/month




                 WFRV [Green Bay, WI]                                      United   Broadcast Media        Media & Information       588,841 [1]
                 Online  View Release                                     States                                                visitors/month




                 WIVB [Buffalo, NY]                                        United   Broadcast Media        Media & Information       577,087 [1]
                 Online  View Release                                     States                                                visitors/month




                 WROC/WUHF/WZDX [Rochester, NY]                            United   Broadcast Media        Media & Information       573,570 [1]
                 Online  View Release                                     States                                                visitors/month




The Buffalo      The Buffalo News, Buffalo, New York                       United   Newspaper              Media & Information       554,758 [1]
News, Buffalo,   Online  View Release                                     States                                                visitors/month
New York


                 WTEN/ WXXA-TV [Albany, NY]                                United   Broadcast Media        Media & Information       533,897 [1]
                 Online  View Release                                     States                                                visitors/month




                 WJTV-TV CBS-12 [Jackson, MS]                              United   Broadcast Media        Media & Information       529,935 [1]
                 Online  View Release                                     States                                                visitors/month




                 KSNT-TV NBC-27 [Topeka, KS]                               United   Broadcast Media        Media & Information       516,197 [1]
                 Online  View Release                                     States                                                visitors/month




                 KELO [Sioux Falls, SD]                                    United   Broadcast Media        Media & Information       515,945 [1]
                 Online  View Release                                     States                                                visitors/month




                 KARK-TV NBC-4 [Little Rock, AR]                           United   Broadcast Media        Media & Information       502,328 [1]
                 Online  View Release                                     States                                                visitors/month




                 WHNT [Huntsville, AL]                                     United   Broadcast Media        Media & Information       499,355 [1]
                 Online  View Release                                     States                                                visitors/month




                 WJHL-TV/ABC Tri-Cities [Johnson City, TN]                 United   Broadcast Media        Media & Information       447,964 [1]
                 Online  View Release                                     States                                                visitors/month




                 WSYR-TV ABC-9 NewsChannel [Syracuse, NY]                  United   Broadcast Media        Media & Information       438,087 [1]
                 Online  View Release                                     States                                                visitors/month




                 WBOY [Clarksburg, WV]                                     United   Broadcast Media        Media & Information       420,890 [1]
                 Online  View Release                                     States                                                visitors/month
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              KGET [Bakersfield, CA]                    United   Broadcast Media        Media & Information       408,123 [1]
              Online  View Release                     States                                                visitors/month




              WTRF [Wheeling, WV]                       United   Broadcast Media        Media & Information       406,388 [1]
              Online  View Release                     States                                                visitors/month




              WKRG [Mobile, AL]                         United   Broadcast Media        Media & Information       406,110 [1]
              Online  View Release                     States                                                visitors/month




              KTSM [El Paso, TX]                        United   Broadcast Media        Media & Information       377,752 [1]
              Online  View Release                     States                                                visitors/month




              WHO-TV NBC-13 [Des Moines, IA]            United   Broadcast Media        Media & Information       377,347 [1]
              Online  View Release                     States                                                visitors/month




              WTAJ [Altoona, PA]                        United   Broadcast Media        Media & Information       354,846 [1]
              Online  View Release                     States                                                visitors/month




              WBTW [Myrtle Beach, SC]                   United   Broadcast Media        Media & Information       353,827 [1]
              Online  View Release                     States                                                visitors/month




              WJZY-TV FOX-46 [Charlotte, NC]            United   Broadcast Media        Media & Information       350,046 [1]
              Online  View Release                     States                                                visitors/month




              WSPA/WYCW [Spartanburg, SC]               United   Broadcast Media        Media & Information       335,202 [1]
              Online  View Release                     States                                                visitors/month




              WDEL-FM 101.7 [Wilmington, DE]            United   Broadcast Media        Media & Information       329,908 [1]
              Online  View Release                     States                                                visitors/month




              WLNS-TV CBS-6 [Lansing, MI]               United   Broadcast Media        Media & Information       314,249 [1]
              Online  View Release                     States                                                visitors/month




              KXRM [Colorado Springs, CO]               United   Broadcast Media        Media & Information       313,103 [1]
              Online  View Release                     States                                                visitors/month




              WDVM-TV IND-25 [Washington, DC]           United   Broadcast Media        Media & Information       312,370 [1]
              Online  View Release                     States                                                visitors/month




              WQRF/WTVO [Rockford, IL]                  United   Broadcast Media        Media & Information       301,671 [1]
              Online  View Release                     States                                                visitors/month




WBOC TV 16,   WBOC TV 16, Salisbury, Maryland           United   Newspaper              Media & Information       298,776 [1]
Salisbury,    Online  View Release                     States                                                visitors/month
Maryland


              KVEO-TV CBS-4 [Harlingen, TX]             United   Broadcast Media        Media & Information       278,191 [1]
              Online  View Release                     States                                                visitors/month




              WCBD-TV NBC-2 [Charleston, SC]            United   Broadcast Media        Media & Information       269,817 [1]
              Online  View Release                     States                                                visitors/month




              KNWA/KFTA [Fayetteville, AR]              United   Broadcast Media        Media & Information       263,841 [1]
              Online  View Release                     States                                                visitors/month




              WMBB-TV ABC-13 [Panama City, FL]          United   Broadcast Media        Media & Information       262,856 [1]
              Online  View Release                     States                                                visitors/month
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               WNCT [Greenville, NC]                               United   Broadcast Media        Media & Information       259,227 [1]
               Online  View Release                               States                                                visitors/month




               KLFY [Lafayette, LA]                                United   Broadcast Media        Media & Information       257,035 [1]
               Online  View Release                               States                                                visitors/month




               WCIA-TV CBS 3 [Champaign, IL]                       United   Broadcast Media        Media & Information       246,019 [1]
               Online  View Release                               States                                                visitors/month




               WEHT/WTVW [Evansville, IN]                          United   Broadcast Media        Media & Information       240,192 [1]
               Online  View Release                               States                                                visitors/month




               KLRT-TV FOX-16 [Little Rock, AR]                    United   Broadcast Media        Media & Information       239,657 [1]
               Online  View Release                               States                                                visitors/month




               WJET-TV ABC-24 / WFXP-TV FOX-44 [Erie, PA]          United   Broadcast Media        Media & Information       234,736 [1]
               Online  View Release                               States                                                visitors/month




The Daily      The Daily Gazette, Schenectady, New York            United   Newspaper              Media & Information       230,331 [1]
Gazette,       Online  View Release                               States                                                visitors/month
Schenectady,
New York


               KAMC/KLBK                                           United   Broadcast Media        Media & Information       228,858 [1]
               Online  View Release                               States                                                visitors/month




               WIAT [Birmingham, AL]                               United   Broadcast Media        Media & Information       226,136 [1]
               Online  View Release                               States                                                visitors/month




               KOLR/KOZL [Springfield, MO]                         United   Broadcast Media        Media & Information       225,579 [1]
               Online  View Release                               States                                                visitors/month




               WSAV [Savannah, GA]                                 United   Broadcast Media        Media & Information       224,244 [1]
               Online  View Release                               States                                                visitors/month




               WJBF [Augusta, GA]                                  United   Broadcast Media        Media & Information       215,384 [1]
               Online  View Release                               States                                                visitors/month




               KSEE/KGPE [Fresno, CA]                              United   Broadcast Media        Media & Information       213,602 [1]
               Online  View Release                               States                                                visitors/month




               KREX/KFQX/KGJT [Grand Junction, CO]                 United   Broadcast Media        Media & Information       212,160 [1]
               Online  View Release                               States                                                visitors/month




               KSNF/KODE [Joplin, MO]                              United   Broadcast Media        Media & Information       204,535 [1]
               Online  View Release                               States                                                visitors/month




               WDKY-TV FOX-56 [Lexington, KY]                      United   Broadcast Media        Media & Information       202,464 [1]
               Online  View Release                               States                                                visitors/month




The Times-     The Times-Tribune, Scranton, Pennsylvania           United   Newspaper              Media & Information       202,278 [1]
Tribune,       Online  View Release                               States                                                visitors/month
Scranton,
Pennsylvania


               WOWK-TV CBS-13 [Charleston, WV]                     United   Broadcast Media        Media & Information       196,434 [1]
               Online  View Release                               States                                                visitors/month




               WFXR [Roanoke, VA                                   United   Broadcast Media        Media & Information       193,143 [1]
               Online  View Release                               States                                                visitors/month
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                  WVNS [Beckley, WV]                                       United   Broadcast Media        Media & Information       188,374 [1]
                  Online  View Release                                    States                                                visitors/month




The Berkshire     The Berkshire Eagle, Pittsfield, Massachusetts           United   Newspaper              Media & Information       188,246 [1]
Eagle,            Online  View Release                                    States                                                visitors/month
Pittsfield,
Massachusetts


                  The Sun Chronicle [North Attleboro, MA]                  United   Newspaper              Media & Information       187,242 [1]
                  Online  View Release                                    States                                                visitors/month




                  WVLA [Baton Rouge, LA]                                   United   Broadcast Media        Media & Information       185,550 [1]
                  Online  View Release                                    States                                                visitors/month




                  WETM-TV NBC-18 [Elmira, NY]                              United   Broadcast Media        Media & Information       185,396 [1]
                  Online  View Release                                    States                                                visitors/month




The Post-Star,    The Post-Star, Glens Falls, New York                     United   Newspaper              Media & Information       181,871 [1]
Glens Falls,      Online  View Release                                    States                                                visitors/month
New York


                  KTAB/KRBC [Abilene, TX]                                  United   Broadcast Media        Media & Information       173,007 [1]
                  Online  View Release                                    States                                                visitors/month




                  KLST/KSAN [San Angelo, TX]                               United   Broadcast Media        Media & Information       161,621 [1]
                  Online  View Release                                    States                                                visitors/month




                  WMBD-TV CBS 31 / WYZZ-TV FOX 43 [Peoria, IL]             United   Broadcast Media        Media & Information       158,680 [1]
                  Online  View Release                                    States                                                visitors/month




                  KIAH [Houston, TX]                                       United   Broadcast Media        Media & Information       148,298 [1]
                  Online  View Release                                    States                                                visitors/month




                  KETK-TV FOX-51 [Tyler, TX]                               United   Broadcast Media        Media & Information       148,244 [1]
                  Online  View Release                                    States                                                visitors/month




                  KXMA/KXMB [Bismark, ND]                                  United   Broadcast Media        Media & Information       147,477 [1]
                  Online  View Release                                    States                                                visitors/month




                  WRBL [Columbus, GA]                                      United   Broadcast Media        Media & Information       146,017 [1]
                  Online  View Release                                    States                                                visitors/month




                  WGNO [New Orleans, LA]                                   United   Broadcast Media        Media & Information       143,757 [1]
                  Online  View Release                                    States                                                visitors/month




                  KTAL-TV NBC-6 [Shreveport, LA]                           United   Broadcast Media        Media & Information       129,326 [1]
                  Online  View Release                                    States                                                visitors/month




The Citizens'     The Citizens' Voice, Wilkes-Barre, Pennsylvania          United   Newspaper              Media & Information       126,789 [1]
Voice, Wilkes-    Online  View Release                                    States                                                visitors/month
Barre,
Pennsylvania


The Exponent,     The Exponent, West Lafayette, Indiana                    United   Newspaper              Media & Information       126,339 [1]
West Lafayette,   Online  View Release                                    States                                                visitors/month
Indiana


Olean Times       Olean Times Herald, Olean, New York                      United   Newspaper              Media & Information       117,174 [1]
Herald, Olean,    Online  View Release                                    States                                                visitors/month
New York


                  WDHN-TV ABC [Webb, AL]                                   United   Broadcast Media        Media & Information       115,747 [1]
                  Online  View Release                                    States                                                visitors/month




                  Myhighplains                                             United   Broadcast Media        Media & Information       115,022 [1]
                  Online  View Release                                    States                                                visitors/month
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The Laconia      The Laconia Daily Sun, Laconia, New Hampshire                 United   Newspaper              Media & Information       112,720 [1]
Daily Sun,       Online  View Release                                         States                                                visitors/month
Laconia, New
Hampshire


                 KFDX-TV NBC-3 / KJTL-TV FOX-18 [Wichita Falls, TX]            United   Broadcast Media        Media & Information       110,572 [1]
                 Online  View Release                                         States                                                visitors/month




                 WTWO-TV NBC-2/WAWV-TV ABC-38 MyWabashValley [Terre            United   Broadcast Media        Media & Information       109,718 [1]
                 Haute IN]                                                     States                                                visitors/month
                 Online  View Release


The              The Caledonian-Record, St. Johnsbury, Vermont                 United   Newspaper              Media & Information       105,481 [1]
Caledonian-      Online  View Release                                         States                                                visitors/month
Record, St.
Johnsbury,
Vermont


                 QuadCities WHBF-TV CBS-4 / KLJB-TV FOX-18 [Rock Island, IL]   United   Broadcast Media        Media & Information       104,235 [1]
                 Online  View Release                                         States                                                visitors/month




                 Albert Lea Tribune [Albert Lea, MN]                           United   Newspaper              Media & Information       102,700 [1]
                 Online  View Release                                         States                                                visitors/month




Republican       Republican Herald, Pottsville, Pennsylvania                   United   Newspaper              Media & Information       101,455 [1]
Herald,          Online  View Release                                         States                                                visitors/month
Pottsville,
Pennsylvania


                 WICZ-TV FOX-40 [Binghamton, NY]                               United   Broadcast Media        Media & Information         95,304 [1]
                 Online  View Release                                         States                                                visitors/month




Rome Sentinel,   Rome Sentinel, Rome, New York                                 United   Newspaper              Media & Information         92,721 [1]
Rome, New        Online  View Release                                         States                                                visitors/month
York


                 KWKT-TV FOX-44 / KYLE-TV MyNetworkTV [Woodway, TX]            United   Broadcast Media        Media & Information         89,889 [1]
                 Online  View Release                                         States                                                visitors/month




                 WTTV [Indianapolis, IN]                                       United   Broadcast Media        Media & Information         88,542 [1]
                 Online  View Release                                         States                                                visitors/month




                 KARD/KTVE [West Monroe, LA]                                   United   Broadcast Media        Media & Information         87,229 [1]
                 Online  View Release                                         States                                                visitors/month




                 KCAU-TV ABC-9 Siouxland Proud [Sioux City, IA]                United   Broadcast Media        Media & Information         85,131 [1]
                 Online  View Release                                         States                                                visitors/month




Queens           Queens Chronicle, Queens, New York                            United   Newspaper              Media & Information         83,215 [1]
Chronicle,       Online  View Release                                         States                                                visitors/month
Queens, New
York


NNY360,          NNY360, Watertown, New York                                   United   Newspaper              Media & Information         77,243 [1]
Watertown,       Online  View Release                                         States                                                visitors/month
New York


The Indiana      The Indiana Gazette, Indiana, Pennsylvania                    United   Newspaper              Media & Information         76,993 [1]
Gazette,         Online  View Release                                         States                                                visitors/month
Indiana,
Pennsylvania


                 Salisbury Post                                                United   Newspaper              Media & Information         76,417 [1]
                 Online  View Release                                         States                                                visitors/month




                 The Vicksburg Post                                            United   Newspaper              Media & Information         74,321 [1]
                 Online  View Release                                         States                                                visitors/month




Brattleboro      Brattleboro Reformer, Brattleboro, Vermont                    United   Newspaper              Media & Information         71,937 [1]
Reformer,        Online  View Release                                         States                                                visitors/month
Brattleboro,
Vermont
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Finger Lakes       Finger Lakes Times, Geneva, New York                        United   Newspaper              Media & Information         70,578 [1]
Times, Geneva,     Online  View Release                                       States                                                visitors/month
New York


The Corry          The Corry Journal, Corry, Pennsylvania                      United   Newspaper              Media & Information         69,186 [1]
Journal, Corry,    Online  View Release                                       States                                                visitors/month
Pennsylvania


The Keene          The Keene Sentinel, Keene, Wyoming                          United   Newspaper              Media & Information         67,331 [1]
Sentinel,          Online  View Release                                       States                                                visitors/month
Keene,
Wyoming


Bennington         Bennington Banner, Bennington, Vermont                      United   Newspaper              Media & Information         67,066 [1]
Banner,            Online  View Release                                       States                                                visitors/month
Bennington,
Vermont


Southern           Southern Maryland News, Prince Frederick, Maryland          United   Newspaper              Media & Information         65,255 [1]
Maryland           Online  View Release                                       States                                                visitors/month
News, Prince
Frederick,
Maryland


                   WFFF-TV FOX 44 / WVNY-TV ABC-22 [Colchester, VT]            United   Broadcast Media        Media & Information         64,949 [1]
                   Online  View Release                                       States                                                visitors/month




                   KMID/KPEJ [Odessa, TX]                                      United   Broadcast Media        Media & Information         63,556 [1]
                   Online  View Release                                       States                                                visitors/month




Times Argus,       Times Argus, Barre, Vermont                                 United   Newspaper              Media & Information         62,365 [1]
Barre, Vermont     Online  View Release                                       States                                                visitors/month


Rutland Herald,    Rutland Herald, Rutland, Vermont                            United   Newspaper              Media & Information         62,242 [1]
Rutland,           Online  View Release                                       States                                                visitors/month
Vermont


                   WBGH/WIVT [Binghamton, NY]                                  United   Broadcast Media        Media & Information         61,850 [1]
                   Online  View Release                                       States                                                visitors/month




The Daily News     The Daily News Online, Batavia, New York                    United   Newspaper              Media & Information         60,000 [1]
Online, Batavia,   Online  View Release                                       States                                                visitors/month
New York


                   Natchez Democrat                                            United   Newspaper              Media & Information         58,441 [1]
                   Online  View Release                                       States                                                visitors/month




                   LaGrange Daily News                                         United   Newspaper              Media & Information         56,768 [1]
                   Online  View Release                                       States                                                visitors/month




The Citizen,       The Citizen, Auburn, New York                               United   Newspaper              Media & Information         55,086 [1]
Auburn, New        Online  View Release                                       States                                                visitors/month
York


The Westerly       The Westerly Sun, Westerly, Rhode Island                    United   Newspaper              Media & Information         54,602 [1]
Sun, Westerly,     Online  View Release                                       States                                                visitors/month
Rhode Island


The Journal        The Journal Gazette, Fort Wayne, Indiana                    United   Newspaper              Media & Information         54,246 [1]
Gazette, Fort      Online  View Release                                       States                                                visitors/month
Wayne, Indiana


Times Bulletin,    Times Bulletin, Van Wert, Ohio                              United   Newspaper              Media & Information         50,403 [1]
Van Wert, Ohio     Online  View Release                                       States                                                visitors/month


                   Magnolia State Live                                         United   Newspaper              Media & Information         49,450 [1]
                   Online  View Release                                       States                                                visitors/month




The Courier-       The Courier-Express, DuBois, Pennsylvania                   United   Newspaper              Media & Information         47,284 [1]
Express,           Online  View Release                                       States                                                visitors/month
DuBois,
Pennsylvania


The Progress       The Progress News, Clearfield, Pennsylvania                 United   Newspaper              Media & Information         47,196 [1]
News,              Online  View Release                                       States                                                visitors/month
Clearfield,
Pennsylvania
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                 Austin Daily Herald                                    United   Newspaper              Media & Information         44,697 [1]
                 Online  View Release                                  States                                                visitors/month




                 Port Arthur News                                       United   Newspaper              Media & Information         44,688 [1]
                 Online  View Release                                  States                                                visitors/month




Gettysburg       Gettysburg Times, Gettysburg, Pennsylvania             United   Newspaper              Media & Information         44,098 [1]
Times,           Online  View Release                                  States                                                visitors/month
Gettysburg,
Pennsylvania


                 KDAF-TV CW-33 [Dallas, TX]                             United   Broadcast Media        Media & Information         43,276 [1]
                 Online  View Release                                  States                                                visitors/month




                 The Oxford Eagle                                       United   Newspaper              Media & Information         43,012 [1]
                 Online  View Release                                  States                                                visitors/month




                 Shelby County Reporter                                 United   Newspaper              Media & Information         42,651 [1]
                 Online  View Release                                  States                                                visitors/month




                 Washington Daily News                                  United   Newspaper              Media & Information         42,418 [1]
                 Online  View Release                                  States                                                visitors/month




                 WWTI-TV ABC-50 [Watertown, NY]                         United   Broadcast Media        Media & Information         40,557 [1]
                 Online  View Release                                  States                                                visitors/month




                 Leader Publications                                    United   Newspaper              Media & Information         38,712 [1]
                 Online  View Release                                  States                                                visitors/month




                 The Suffolk News-Herald                                United   Newspaper              Media & Information         37,147 [1]
                 Online  View Release                                  States                                                visitors/month




Lake County      Lake County News, Lake County, California              United   Newspaper              Media & Information         36,594 [1]
News, Lake       Online  View Release                                  States                                                visitors/month
County,
California


Standard-        Standard-Speaker, Hazleton, Pennsylvania               United   Newspaper              Media & Information         35,339 [1]
Speaker,         Online  View Release                                  States                                                visitors/month
Hazleton,
Pennsylvania


                 WYTV-TV ABC-33 [Youngstown, OH]                        United   Broadcast Media        Media & Information         34,370 [1]
                 Online  View Release                                  States                                                visitors/month




                 The Troy Messenger                                     United   Newspaper              Media & Information         32,734 [1]
                 Online  View Release                                  States                                                visitors/month




Tioga            Tioga Publishing, Wellsboro, Pennsylvania              United   Newspaper              Media & Information         32,277 [1]
Publishing,      Online  View Release                                  States                                                visitors/month
Wellsboro,
Pennsylvania


The Conway       The Conway Daily Sun, North Conway, New Hampshire      United   Newspaper              Media & Information         30,757 [1]
Daily Sun,       Online  View Release                                  States                                                visitors/month
North Conway,
New Hampshire


The Bradford     The Bradford Era, Bradford, Pennsylvania               United   Newspaper              Media & Information         30,099 [1]
Era, Bradford,   Online  View Release                                  States                                                visitors/month
Pennsylvania


                 Ironton Tribune                                        United   Newspaper              Media & Information         30,067 [1]
                 Online  View Release                                  States                                                visitors/month




The Madison      The Madison Courier, Madison, Indiana                  United   Newspaper              Media & Information         29,912 [1]
Courier,         Online  View Release                                  States                                                visitors/month
Madison,
Indiana
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                  Winchester Sun                                            United      Newspaper              Media & Information         29,604 [1]
                  Online  View Release                                     States                                                   visitors/month




Leader Times,     Leader Times, Kittanning, Pennsylvania                    United      Newspaper              Media & Information         29,085 [1]
Kittanning,       Online  View Release                                     States                                                   visitors/month
Pennsylvania


The Sentinel,     The Sentinel, Carlisle, Pennsylvania                      United      Newspaper              Media & Information         28,673 [1]
Carlisle,         Online  View Release                                     States                                                   visitors/month
Pennsylvania


The New Britain   The New Britain Herald, New Britain, Connecticut          United      Newspaper              Media & Information         28,426 [1]
Herald, New       Online  View Release                                     States                                                   visitors/month
Britain,
Connecticut


                  Alexander City Outlook                                    United      Newspaper              Media & Information         27,957 [1]
                  Online  View Release                                     States                                                   visitors/month




                  Elizabethton Star                                         United      Newspaper              Media & Information         27,712 [1]
                  Online  View Release                                     States                                                   visitors/month




St. Albans        St. Albans Messenger, St. Albans, Vermont                 United      Newspaper              Media & Information         27,638 [1]
Messenger, St.    Online  View Release                                     States                                                   visitors/month
Albans,
Vermont


                  Daily Leader                                              United      Newspaper              Media & Information         27,628 [1]
                  Online  View Release                                     States                                                   visitors/month




                  The Coastland Times                                       United      Newspaper              Media & Information         27,348 [1]
                  Online  View Release                                     States                                                   visitors/month




                  The Farmville Herald                                      United      Newspaper              Media & Information         26,340 [1]
                  Online  View Release                                     States                                                   visitors/month




Latrobe           Latrobe Bulletin News, Latrobe, Pennsylvania              United      Newspaper              Media & Information         26,329 [1]
Bulletin News,    Online  View Release                                     States                                                   visitors/month
Latrobe,
Pennsylvania


                  One News Page                                             Hong Kong   Information Website    General                     25,811 [1]
                  Online  View Release                                                                                              visitors/month




                  American Press                                            United      Newspaper              Media & Information         25,797 [1]
                  Online  View Release                                     States                                                   visitors/month




                  The Roanoke Chowan News Herald                            United      Newspaper              Media & Information         24,905 [1]
                  Online  View Release                                     States                                                   visitors/month




                  L'Observateur                                             United      Newspaper              Media & Information         23,815 [1]
                  Online  View Release                                     States                                                   visitors/month




Grants Pass       Grants Pass Daily Courier, Grants Pass, Oregon            United      Newspaper              Media & Information         23,284 [1]
Daily Courier,    Online  View Release                                     States                                                   visitors/month
Grants Pass,
Oregon


                  The State Journal                                         United      Newspaper              Media & Information         22,214 [1]
                  Online  View Release                                     States                                                   visitors/month




                  The Andalusia Star-News                                   United      Newspaper              Media & Information         21,829 [1]
                  Online  View Release                                     States                                                   visitors/month




                  WPHL [Philadelphia, PA]                                   United      Broadcast Media        Media & Information         21,730 [1]
                  Online  View Release                                     States                                                   visitors/month
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Cecil Daily,     Cecil Daily, Elkton, Maryland                        United   Newspaper              Media & Information         21,502 [1]
Elkton,          Online  View Release                                States                                                visitors/month
Maryland


The              The Manchester Journal, Manchester, Vermont          United   Newspaper              Media & Information         20,786 [1]
Manchester       Online  View Release                                States                                                visitors/month
Journal,
Manchester,
Vermont


Salamanca        Salamanca Press, Salamanca, New York                 United   Newspaper              Media & Information         20,669 [1]
Press,           Online  View Release                                States                                                visitors/month
Salamanca,
New York


                 The Wetumpka Herald                                  United   Newspaper              Media & Information         20,271 [1]
                 Online  View Release                                States                                                visitors/month




                 Picayune Item                                        United   Newspaper              Media & Information         19,962 [1]
                 Online  View Release                                States                                                visitors/month




                 CNYhomepage                                          United   Broadcast Media        Media & Information         19,868 [1]
                 Online  View Release                                States                                                visitors/month




Ocean City       Ocean City Today, Ocean City, Maryland               United   Newspaper              Media & Information         19,866 [1]
Today, Ocean     Online  View Release                                States                                                visitors/month
City, Maryland


The Bryan        The Bryan Times, Bryan, Ohio                         United   Newspaper              Media & Information         19,556 [1]
Times, Bryan,    Online  View Release                                States                                                visitors/month
Ohio


Coastal Point,   Coastal Point, Ocean View, Delaware                  United   Newspaper              Media & Information         18,851 [1]
Ocean View,      Online  View Release                                States                                                visitors/month
Delaware


                 Smithfield Times                                     United   Newspaper              Media & Information         18,552 [1]
                 Online  View Release                                States                                                visitors/month




The Daily        The Daily Review, Towanda, Pennsylvania              United   Newspaper              Media & Information         18,243 [1]
Review,          Online  View Release                                States                                                visitors/month
Towanda,
Pennsylvania


The Daily        The Daily News, Huntingdon, Pennsylvania             United   Newspaper              Media & Information         17,333 [1]
News,            Online  View Release                                States                                                visitors/month
Huntingdon,
Pennsylvania


The Eagle-       The Eagle-Times, Claremont, New Hampshire            United   Newspaper              Media & Information         17,236 [1]
Times,           Online  View Release                                States                                                visitors/month
Claremont, New
Hampshire


                 Valley Times-News                                    United   Newspaper              Media & Information         15,766 [1]
                 Online  View Release                                States                                                visitors/month




                 The Tryon Daily Bulletin                             United   Newspaper              Media & Information         15,732 [1]
                 Online  View Release                                States                                                visitors/month




The News-Item,   The News-Item, Shamokin, Pennsylvania                United   Newspaper              Media & Information         15,606 [1]
Shamokin,        Online  View Release                                States                                                visitors/month
Pennsylvania


                 Orange Leader                                        United   Newspaper              Media & Information         14,811 [1]
                 Online  View Release                                States                                                visitors/month




                 The Bogalusa Daily News                              United   Newspaper              Media & Information         14,593 [1]
                 Online  View Release                                States                                                visitors/month




Oswego           Oswego County News Now, Oswego County, New York      United   Newspaper              Media & Information         14,476 [1]
County News      Online  View Release                                States                                                visitors/month
Now, Oswego
County, New
York
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Prime             Prime Publishers, Waterbury, Connecticut                 United   Newspaper              Media & Information         13,640 [1]
Publishers,       Online  View Release                                    States                                                visitors/month
Waterbury,
Connecticut


                  The Greenville Advocate                                  United   Newspaper              Media & Information         13,616 [1]
                  Online  View Release                                    States                                                visitors/month




The Chronicle,    The Chronicle, Centralia, Washington                     United   Newspaper              Media & Information         13,032 [1]
Centralia,        Online  View Release                                    States                                                visitors/month
Washington


                  The Advocate-Messenger                                   United   Newspaper              Media & Information         12,907 [1]
                  Online  View Release                                    States                                                visitors/month




                  WLAX-TV FOX 28/45 [La Crosse, WI]                        United   Broadcast Media        Media & Information         12,826 [1]
                  Online  View Release                                    States                                                visitors/month




Winchester        Winchester News Gazette, Winchester, Indiana             United   Newspaper              Media & Information         12,562 [1]
News Gazette,     Online  View Release                                    States                                                visitors/month
Winchester,
Indiana


The Record-       The Record-Argus, Greenville, Pennsylvania               United   Newspaper              Media & Information         11,436 [1]
Argus,            Online  View Release                                    States                                                visitors/month
Greenville,
Pennsylvania


                  The Post-Searchlight                                     United   Newspaper              Media & Information         11,179 [1]
                  Online  View Release                                    States                                                visitors/month




The Sentinel,     The Sentinel, Lewistown, Pennsylvania                    United   Newspaper              Media & Information         11,152 [1]
Lewistown,        Online  View Release                                    States                                                visitors/month
Pennsylvania


The Bristol       The Bristol Press, Bristol, Connecticut                  United   Newspaper              Media & Information         10,515 [1]
Press, Bristol,   Online  View Release                                    States                                                visitors/month
Connecticut


Morning Times,    Morning Times, Sayre, Pennsylvania                       United   Newspaper              Media & Information         10,508 [1]
Sayre,            Online  View Release                                    States                                                visitors/month
Pennsylvania


Buffalo Spree     Buffalo Spree Magazine, Buffalo, New York                United   Newspaper              Media & Information         10,466 [1]
Magazine,         Online  View Release                                    States                                                visitors/month
Buffalo, New
York


                  Jessamine Journal                                        United   Newspaper              Media & Information         10,261 [1]
                  Online  View Release                                    States                                                visitors/month




                  The Stanly News & Press                                  United   Newspaper              Media & Information         10,040 [1]
                  Online  View Release                                    States                                                visitors/month




The               The Punxsutawney Spirit, Punxsutawney, Pennsylvania      United   Newspaper              Media & Information         10,002 [1]
Punxsutawney      Online  View Release                                    States                                                visitors/month
Spirit,
Punxsutawney,
Pennsylvania


Malone            Malone Telegram, Malone, New York                        United   Newspaper              Media & Information          9,472 [1]
Telegram,         Online  View Release                                    States                                                visitors/month
Malone, New
York


The Essex         The Essex Reporter, Essex, Vermont                       United   Newspaper              Media & Information          9,317 [1]
Reporter,         Online  View Release                                    States                                                visitors/month
Essex, Vermont


Rock 107,         Rock 107, Scranton, Pennsylvania                         United   Newspaper              Media & Information          8,671 [1]
Scranton,         Online  View Release                                    States                                                visitors/month
Pennsylvania


                  Alabama Now                                              United   Newspaper              Media & Information          8,444 [1]
                  Online  View Release                                    States                                                visitors/month
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The Progress       The Progress Newspaper, Archbold, Ohio                      United   Newspaper                   Media & Information          8,125 [1]
Newspaper,         Online  View Release                                       States                                                     visitors/month
Archbold, Ohio


The Pilot News,    The Pilot News, Plymouth, Indiana                           United   Newspaper                   Media & Information          8,090 [1]
Plymouth,          Online  View Release                                       States                                                     visitors/month
Indiana


Rhode Island       Rhode Island Central, Rhode Island                          United   Newspaper                   Media & Information          8,038 [1]
Central, Rhode     Online  View Release                                       States                                                     visitors/month
Island


                   The Charlotte Gazette                                       United   Newspaper                   Media & Information          7,885 [1]
                   Online  View Release                                       States                                                     visitors/month




The                The Woonsocket Call, Woonsocket, Rhode Island               United   Newspaper                   Media & Information          7,861 [1]
Woonsocket         Online  View Release                                       States                                                     visitors/month
Call,
Woonsocket,
Rhode Island


Northwest          Northwest Signal, Napoleon, Ohio                            United   Newspaper                   Media & Information          7,725 [1]
Signal,            Online  View Release                                       States                                                     visitors/month
Napoleon, Ohio


                   WNTZ [Alexandria, LA]                                       United   Broadcast Media             Media & Information          7,576 [1]
                   Online  View Release                                       States                                                     visitors/month




                   The Clanton Advertiser                                      United   Newspaper                   Media & Information          7,551 [1]
                   Online  View Release                                       States                                                     visitors/month




                   NewsBlaze US                                                United   Online News Sites & Other   Media & Information          7,474 [1]
                   Online  View Release                                       States   Influencers                                       visitors/month




The Colchester     The Colchester Sun, Colchester, Vermont                     United   Newspaper                   Media & Information          7,280 [1]
Sun,               Online  View Release                                       States                                                     visitors/month
Colchester,
Vermont


The St. Marys      The St. Marys Daily Press, St. Marys, Pennsylvania          United   Newspaper                   Media & Information          7,267 [1]
Daily Press, St.   Online  View Release                                       States                                                     visitors/month
Marys,
Pennsylvania


                   The Demopolis Times                                         United   Newspaper                   Media & Information          7,123 [1]
                   Online  View Release                                       States                                                     visitors/month




                   Claiborne Progress                                          United   Newspaper                   Media & Information          7,057 [1]
                   Online  View Release                                       States                                                     visitors/month




Wapakoneta         Wapakoneta Daily News, Wapakoneta, Ohio                     United   Newspaper                   Media & Information          6,668 [1]
Daily News,        Online  View Release                                       States                                                     visitors/month
Wapakoneta,
Ohio


                   The Tidewater News                                          United   Newspaper                   Media & Information          6,654 [1]
                   Online  View Release                                       States                                                     visitors/month




Dundalk Eagle,     Dundalk Eagle, Dundalk, Maryland                            United   Newspaper                   Media & Information          6,619 [1]
Dundalk,           Online  View Release                                       States                                                     visitors/month
Maryland


Delphos            Delphos Herald, Delphos, Ohio                               United   Newspaper                   Media & Information          6,619 [1]
Herald,            Online  View Release                                       States                                                     visitors/month
Delphos, Ohio


Newport Daily      Newport Daily Express, Newport, Vermont                     United   Newspaper                   Media & Information          6,473 [1]
Express,           Online  View Release                                       States                                                     visitors/month
Newport,
Vermont


                   The Selma Times-Journal                                     United   Newspaper                   Media & Information          6,382 [1]
                   Online  View Release                                       States                                                     visitors/month




Chagrin Valley     Chagrin Valley Today, Chagrin Falls, Ohio                   United   Newspaper                   Media & Information          6,027 [1]
Today, Chagrin     Online  View Release                                       States                                                     visitors/month
Falls, Ohio
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                 Davie County Enterprise Record                          United   Newspaper              Media & Information          5,945 [1]
                 Online  View Release                                   States                                                visitors/month




SDG              SDG Newspapers, Swanton, Ohio                           United   Newspaper              Media & Information          5,780 [1]
Newspapers,      Online  View Release                                   States                                                visitors/month
Swanton, Ohio


Putnam County    Putnam County Sentinel, Ottawa, Ohio                    United   Newspaper              Media & Information          5,701 [1]
Sentinel,        Online  View Release                                   States                                                visitors/month
Ottawa, Ohio


Delmarva         Delmarva Sports Network, Salisbury, Maryland            United   Newspaper              Media & Information          5,576 [1]
Sports           Online  View Release                                   States                                                visitors/month
Network,
Salisbury,
Maryland


                 Middlesboro News                                        United   Newspaper              Media & Information          5,515 [1]
                 Online  View Release                                   States                                                visitors/month




Toledo Legal     Toledo Legal News, Toledo, Ohio                         United   Newspaper              Media & Information          5,416 [1]
News, Toledo,    Online  View Release                                   States                                                visitors/month
Ohio


Decatur Daily    Decatur Daily Democrat, Decatur, Indiana                United   Newspaper              Media & Information          5,414 [1]
Democrat,        Online  View Release                                   States                                                visitors/month
Decatur,
Indiana


                 The Brewton Standard                                    United   Newspaper              Media & Information          5,076 [1]
                 Online  View Release                                   States                                                visitors/month




Biz570,          Biz570, Pennsylvania                                    United   Newspaper              Media & Information          5,066 [1]
Pennsylvania     Online  View Release                                   States                                                visitors/month


                 The Panolian                                            United   Newspaper              Media & Information          4,484 [1]
                 Online  View Release                                   States                                                visitors/month




                 The Atmore Advance                                      United   Newspaper              Media & Information          4,302 [1]
                 Online  View Release                                   States                                                visitors/month




The Penn,        The Penn, Pittsburgh, Pennsylvania                      United   Newspaper              Media & Information          4,225 [1]
Pittsburgh,      Online  View Release                                   States                                                visitors/month
Pennsylvania


Ship Inc.,       Ship Inc., Ocean City, Maryland                         United   Newspaper              Media & Information          4,165 [1]
Ocean City,      Online  View Release                                   States                                                visitors/month
Maryland


                 Americus Times-Recorder                                 United   Newspaper              Media & Information          4,155 [1]
                 Online  View Release                                   States                                                visitors/month




                 KHMT/KSVI [Billings, MT]                                United   Broadcast Media        Media & Information          3,780 [1]
                 Online  View Release                                   States                                                visitors/month




The Post &       The Post & Mail, Columbia City, Indiana                 United   Newspaper              Media & Information          3,622 [1]
Mail, Columbia   Online  View Release                                   States                                                visitors/month
City, Indiana


                 Kenbridge Victoria Dispatch                             United   Newspaper              Media & Information          3,556 [1]
                 Online  View Release                                   States                                                visitors/month




The Clarion      The Clarion News, Clarion, Pennsylvania                 United   Newspaper              Media & Information          3,483 [1]
News, Clarion,   Online  View Release                                   States                                                visitors/month
Pennsylvania


Block Island     Block Island Times, Block Island, Rhode Island          United   Newspaper              Media & Information          3,398 [1]
Times, Block     Online  View Release                                   States                                                visitors/month
Island, Rhode
Island


                 The Clemmons Courier                                    United   Newspaper              Media & Information          3,335 [1]
                 Online  View Release                                   States                                                visitors/month
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                    Latin Business Today                                     United   Online News Sites & Other   Multicultural &              3,315 [1]
                    Online  View Release                                    States   Influencers                 Demographic           visitors/month




Williston           Williston Observer, Williston, Vermont                   United   Newspaper                   Media & Information          3,212 [1]
Observer,           Online  View Release                                    States                                                     visitors/month
Williston,
Vermont


                    The Interior Journal                                     United   Newspaper                   Media & Information          3,156 [1]
                    Online  View Release                                    States                                                     visitors/month




                    Windsor Weekly                                           United   Newspaper                   Media & Information          3,007 [1]
                    Online  View Release                                    States                                                     visitors/month




Medina County       Medina County Life, Medina, Ohio                         United   Newspaper                   Media & Information          2,853 [1]
Life, Medina,       Online  View Release                                    States                                                     visitors/month
Ohio


Kane County         Kane County Chronicle, St. Charles, Illinois             United   Newspaper                   Media & Information          2,520 [1]
Chronicle, St.      Online  View Release                                    States                                                     visitors/month
Charles, Illinois


Wyoming             Wyoming County Examiner, Tunkhannock, Pennsylvania       United   Newspaper                   Media & Information          2,406 [1]
County              Online  View Release                                    States                                                     visitors/month
Examiner,
Tunkhannock,
Pennsylvania


                    Cordele Dispatch                                         United   Newspaper                   Media & Information          2,317 [1]
                    Online  View Release                                    States                                                     visitors/month




                    Ada Herald [Ada, OH]                                     United   Newspaper                   Media & Information          2,256 [1]
                    Online  View Release                                    States                                                     visitors/month




Massachusetts       Massachusetts Nonprofit Network, Boston, Massachusetts   United   Newspaper                   Media & Information          2,213 [1]
Nonprofit           Online  View Release                                    States                                                     visitors/month
Network,
Boston,
Massachusetts


The Milton          The Milton Times, Milton, Massachusetts                  United   Newspaper                   Media & Information          2,101 [1]
Times, Milton,      Online  View Release                                    States                                                     visitors/month
Massachusetts


                    The Tallassee Tribune                                    United   Newspaper                   Media & Information          1,991 [1]
                    Online  View Release                                    States                                                     visitors/month




                    Gates County Index                                       United   Newspaper                   Media & Information          1,979 [1]
                    Online  View Release                                    States                                                     visitors/month




                    Leesville Leader                                         United   Newspaper                   Media & Information          1,783 [1]
                    Online  View Release                                    States                                                     visitors/month




                    Sangri Times                                             India    Online News Sites & Other   General                      1,766 [1]
                    Online  View Release                                             Influencers                                       visitors/month




                    Times of San Diego                                       United   Newspaper                   Media & Information          1,676 [1]
                    Online  View Release                                    States                                                     visitors/month




WestLife News,      WestLife News, Westlake, Ohio                            United   Newspaper                   Media & Information          1,530 [1]
Westlake, Ohio      Online  View Release                                    States                                                     visitors/month


                    Harlan Enterprise                                        United   Newspaper                   Media & Information          1,524 [1]
                    Online  View Release                                    States                                                     visitors/month




                    Prentiss Headlight                                       United   Newspaper                   Media & Information          1,318 [1]
                    Online  View Release                                    States                                                     visitors/month
            Case 1:19-md-02903-GWC                                    Document 367-1        Filed 02/21/25          Page 95 of 104
                   Lowndes Signal                                            United   Newspaper                   Media & Information          1,274 [1]
                   Online  View Release                                     States                                                     visitors/month




Sullivan Daily     Sullivan Daily Times, Sullivan, Indiana                   United   Newspaper                   Media & Information          1,171 [1]
Times,             Online  View Release                                     States                                                     visitors/month
Sullivan,
Indiana


Hemet              Hemet Valley/Idyllwild Pilot, Hemet, California           United   Newspaper                   Media & Information          1,098 [1]
Valley/Idyllwild   Online  View Release                                     States                                                     visitors/month
Pilot, Hemet,
California


The Ohio Press     The Ohio Press Network, Ohio                              United   Newspaper                   Media & Information          1,078 [1]
Network, Ohio      Online  View Release                                     States                                                     visitors/month


                   Bluegrass Live                                            United   Newspaper                   Media & Information          1,069 [1]
                   Online  View Release                                     States                                                     visitors/month




Hartford City      Hartford City News Times, Hartford City, Indiana          United   Newspaper                   Media & Information          1,044 [1]
News Times,        Online  View Release                                     States                                                     visitors/month
Hartford City,
Indiana


Minster            Minster Community Post, Minster, Ohio                     United   Newspaper                   Media & Information          1,042 [1]
Community          Online  View Release                                     States                                                     visitors/month
Post, Minster,
Ohio


                   WNC Business                                              United   Newspaper                   Media & Information          1,019 [1]
                   Online  View Release                                     States                                                     visitors/month




Ridgway            Ridgway Record, Ridgway, Pennsylvania                     United   Newspaper                   Media & Information          1,012 [1]
Record,            Online  View Release                                     States                                                     visitors/month
Ridgway,
Pennsylvania


                   ChineseWire                                               United   Online News Sites & Other   Media & Information          1,004 [1]
                   Online  View Release                                     States   Influencers                                       visitors/month




                   Ashland Town News                                         United   Newspaper                   Media & Information            986 [1]
                   Online  View Release                                     States                                                     visitors/month




                   Luverne Journal                                           United   Newspaper                   Media & Information            964 [1]
                   Online  View Release                                     States                                                     visitors/month




                   Holladay Journal                                          United   Newspaper                   Media & Information            911 [1]
                   Online  View Release                                     States                                                     visitors/month




Arundel News,      Arundel News, Arundel, Maryland                           United   Newspaper                   Media & Information            909 [1]
Arundel,           Online  View Release                                     States                                                     visitors/month
Maryland


                   Fayetteville Connect                                      United   Newspaper                   Media & Information            810 [1]
                   Online  View Release                                     States                                                     visitors/month




                   Walnut Creek Magazine                                     United   Newspaper                   Media & Information            805 [1]
                   Online  View Release                                     States                                                     visitors/month




                   West Jordan Journal                                       United   Newspaper                   Media & Information            796 [1]
                   Online  View Release                                     States                                                     visitors/month




                   Gulf & Main Magazine                                      United   Newspaper                   Media & Information            785 [1]
                   Online  View Release                                     States                                                     visitors/month




                   The Chillicothe Hometown Voice                            United   Newspaper                   Media & Information            775 [1]
                   Online  View Release                                     States                                                     visitors/month
           Case 1:19-md-02903-GWC                                   Document 367-1       Filed 02/21/25     Page 96 of 104
                South Jordan Journal                                       United   Newspaper             Media & Information            766 [1]
                Online  View Release                                      States                                               visitors/month




                RSW Living Magazine [Sanibel, FL]                          United   Newspaper             Media & Information            765 [1]
                Online  View Release                                      States                                               visitors/month




Shoals News,    Shoals News, Florence AL                                   United   Newspaper             Media & Information            754 [1]
Florence AL     Online  View Release                                      States                                               visitors/month


                Washington City Paper [Washington, DC]                     United   Newspaper             General                        751 [1]
                Online  View Release                                      States                                               visitors/month




                Chester County Press                                       United   Newspaper             Media & Information            692 [1]
                Online  View Release                                      States                                               visitors/month




                Sugar House Journal                                        United   Newspaper             Media & Information            675 [1]
                Online  View Release                                      States                                               visitors/month




North East      North East News Journal, North East, Pennsylvania          United   Newspaper             Media & Information            673 [1]
News Journal,   Online  View Release                                      States                                               visitors/month
North East,
Pennsylvania


                Davis Journal                                              United   Newspaper             Media & Information            662 [1]
                Online  View Release                                      States                                               visitors/month




                Midvale Journal                                            United   Newspaper             Media & Information            656 [1]
                Online  View Release                                      States                                               visitors/month




                Columbia Business Monthly                                  United   Newspaper             Media & Information            650 [1]
                Online  View Release                                      States                                               visitors/month




                Sandy Journal                                              United   Newspaper             Media & Information            640 [1]
                Online  View Release                                      States                                               visitors/month




                Norfolk & Wrentham News                                    United   Newspaper             Media & Information            640 [1]
                Online  View Release                                      States                                               visitors/month




                Beauregard News                                            United   Newspaper             Media & Information            605 [1]
                Online  View Release                                      States                                               visitors/month




                Southwest Daily News                                       United   Newspaper             Media & Information            602 [1]
                Online  View Release                                      States                                               visitors/month




                Medway & Millis News                                       United   Newspaper             Media & Information            593 [1]
                Online  View Release                                      States                                               visitors/month




                Cottonwood Heights Journal                                 United   Newspaper             Media & Information            572 [1]
                Online  View Release                                      States                                               visitors/month




                MB News                                                    United   Newspaper             Media & Information            551 [1]
                Online  View Release                                      States                                               visitors/month




                Natick Town News                                           United   Newspaper             Media & Information            543 [1]
                Online  View Release                                      States                                               visitors/month




                Hopedale Town News                                         United   Newspaper             Media & Information            538 [1]
                Online  View Release                                      States                                               visitors/month
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             Herriman Journal                                 United   Newspaper             Media & Information            526 [1]
             Online  View Release                            States                                               visitors/month




             Connect Iredell                                  United   Newspaper             Media & Information            521 [1]
             Online  View Release                            States                                               visitors/month




             Toti.com                                         United   Newspaper             Media & Information            514 [1]
             Online  View Release                            States                                               visitors/month




             West Valley City Journal                         United   Newspaper             Media & Information            493 [1]
             Online  View Release                            States                                               visitors/month




             Franklin Town News                               United   Newspaper             Media & Information            492 [1]
             Online  View Release                            States                                               visitors/month




             South Salt Lake Journal                          United   Newspaper             Media & Information            477 [1]
             Online  View Release                            States                                               visitors/month




             City Journals                                    United   Newspaper             Media & Information            470 [1]
             Online  View Release                            States                                               visitors/month




             Cape Coral Living Magazine                       United   Newspaper             Media & Information            458 [1]
             Online  View Release                            States                                               visitors/month




             Times of the Islands                             United   Newspaper             Media & Information            420 [1]
             Online  View Release                            States                                               visitors/month




             Murray Journal                                   United   Newspaper             Media & Information            413 [1]
             Online  View Release                            States                                               visitors/month




             Holliston Town News                              United   Newspaper             Media & Information            413 [1]
             Online  View Release                            States                                               visitors/month




             Bradfordville Bugle                              United   Newspaper             Media & Information            396 [1]
             Online  View Release                            States                                               visitors/month




             Greenville Business Magazine                     United   Newspaper             Media & Information            380 [1]
             Online  View Release                            States                                               visitors/month




             Millcreek Journal                                United   Newspaper             Media & Information            374 [1]
             Online  View Release                            States                                               visitors/month




             Taylorsville Journal                             United   Newspaper             Media & Information            370 [1]
             Online  View Release                            States                                               visitors/month




             Omaha Magazine                                   United   Newspaper             Media & Information            367 [1]
             Online  View Release                            States                                               visitors/month




             Norwood Town News                                United   Newspaper             Media & Information            364 [1]
             Online  View Release                            States                                               visitors/month




             Taos News                                        United   Newspaper             Media & Information            363 [1]
             Online  View Release                            States                                               visitors/month




Delmarva     Delmarva Home Show, Salisbury, Maryland          United   Newspaper             Media & Information            346 [1]
Home Show,   Online  View Release                            States                                               visitors/month
Salisbury,
Maryland
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                   Style Magazine                                             United     Newspaper                   Media & Information            342 [1]
                   Online  View Release                                      States                                                       visitors/month




                   Bonita & Estero Magazine                                   United     Newspaper                   Media & Information            318 [1]
                   Online  View Release                                      States                                                       visitors/month




                   Hattiesburg.com                                            United     Online News Sites & Other   Media & Information            300 [1]
                   Online  View Release                                      States     Influencers                                       visitors/month




 eNews Park        eNews Park Forest                                          United     Newspaper                   Media & Information            295 [1]
 Forest            Online  View Release                                      States                                                       visitors/month


                   The Pioneer                                                United     Newspaper                   Media & Information            259 [1]
                   Online  View Release                                      States                                                       visitors/month




                   Draper Journal                                             United     Newspaper                   Media & Information            195 [1]
                   Online  View Release                                      States                                                       visitors/month




                   Parish News [New Orleans, LA]                              United     Newspaper                   Media & Information            194 [1]
                   Online  View Release                                      States                                                       visitors/month




                   FACE Magazine                                              United     Newspaper                   Media & Information            103 [1]
                   Online  View Release                                      States                                                       visitors/month




                   indica News [San Ramon, CA]                                United     Online News Sites & Other   Media & Information             91 [1]
                   Online  View Release                                      States     Influencers                                       visitors/month




                   Business Class News                                        United     Blog                        Media & Information             91 [1]
                   Online  View Release                                      States                                                       visitors/month




                   Boreal Community Media                                     United     Newspaper                   Media & Information             78 [1]
                   Online  View Release                                      States                                                       visitors/month




                   WWZW-FM Classic story96.7 [Lexington, VA]                  United     Broadcast Media             Media & Information             29 [1]
                   Online  View Release                                      States                                                       visitors/month




 Vermilion         Vermilion Photojournal, Vermilion, Ohio                    United     Newspaper                   Media & Information   Not Available
 Photojournal,     Online  View Release                                      States
 Vermilion, Ohio


 The Valley        The Valley Advantage, Archbald, Pennsylvania               United     Newspaper                   Media & Information   Not Available
 Advantage,        Online  View Release                                      States
 Archbald,
 Pennsylvania


 The Franklin,     The Franklin, Franklin, Tennessee                          United     Newspaper                   Media & Information   Not Available
 Franklin,         Online  View Release                                      States
 Tennessee


 San Juan Sun,     San Juan Sun, Espanola, New Mexico                         United     Newspaper                   Media & Information   Not Available
 Espanola, New     Online  View Release                                      States
 Mexico


 Jackson           Jackson Township News, Jackson Township, New Jersey        United     Newspaper                   Media & Information   Not Available
 Township          Online  View Release                                      States
 News, Jackson
 Township, New
 Jersey


                   IN Whitley County [Columbia City, IN]                      United     Newspaper                   Media & Information   Not Available
                   Online  View Release                                      States




                                                   [2] Alexa, [3] siteworthtraffic.com [4] Cision Digital
*Data sources: [1]                                 Reach
*The data cited here by SimilarWeb represents site traffic data of worldwide unique visitors on desktop and mobile devices. Data is updated
monthly.
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Si actualmente posee o compró previamente un Fisher Price Rock 'n Play Sleeper, podría obtener dinero de

un Acuerdo de Demanda Colectiva

Total Exact Matches: 61



Logo               Outlet Name                                 Location      Source Type                 Industry                   Potential
                                                                                                                                    Audience


                   PR Newswire                                 Global        PR Newswire                 Media & Information    5,590,155 [1]
                   Online  View Release                                                                                       visitors/month




                   Mundiario                                   Spain         Newspaper                   Media & Information       382,646 [1]
                   Online  View Release                                                                                       visitors/month




                   Mundiario                                   Spain         Newspaper                   Media & Information       382,646 [1]
                   Online  View Release                                                                                       visitors/month




                   Victoria Advocate [Victoria, TX]            United        Newspaper                   Media & Information       209,077 [1]
                   Online  View Release                       States                                                          visitors/month




                   Quiza Me                                    United        Online News Sites & Other   General                     20,678 [1]
                   Online  View Release                       States        Influencers                                       visitors/month




Kilgore News       Kilgore News Herald, Kilgore, Texas         United        Newspaper                   Media & Information         12,112 [1]
Herald, Kilgore,   Online  View Release                       States                                                          visitors/month
Texas


                   La Nueva 94 FM                              Puerto Rico   Broadcast Media             Multicultural &             10,934 [1]
                   Online  View Release                                                                 Demographic           visitors/month




                   El Zol 106.7 FM                             United        Broadcast Media             Multicultural &              8,296 [1]
                   Online  View Release                       States                                    Demographic           visitors/month




                   Play 96.5 FM                                Puerto Rico   Broadcast Media             Multicultural &              7,320 [1]
                   Online  View Release                                                                 Demographic           visitors/month




                   Mega TV                                     United        Broadcast Media             Multicultural &              6,551 [1]
                   Online  View Release                       States                                    Demographic           visitors/month




                   La Zeta 93.7 FM                             Puerto Rico   Broadcast Media             Multicultural &              6,123 [1]
                   Online  View Release                                                                 Demographic           visitors/month




                   Zeta 92.3 FM                                United        Broadcast Media             Multicultural &              5,442 [1]
                   Online  View Release                       States                                    Demographic           visitors/month




                   Latin Business Hoy                          United        Online News Sites & Other   Multicultural &              3,315 [1]
                   Online  View Release                       States        Influencers                 Demographic           visitors/month




                   Ismael Cala                                 United        Blog                        Multicultural &              2,128 [1]
                   Online  View Release                       States                                    Demographic           visitors/month




                   La Ley 107.9 FM                             United        Broadcast Media             Multicultural &              2,072 [1]
                   Online  View Release                       States                                    Demographic           visitors/month
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                  Diario Horizonte - CT                                  United        Newspaper                    Multicultural &              1,780 [1]
                  Online  View Release                                  States                                     Demographic           visitors/month




The Best Times,   The Best Times, Memphis, Tennessee                     United        Newspaper                    Media & Information          1,362 [1]
Memphis,          Online  View Release                                  States                                                           visitors/month
Tennessee


                  Cala Academy                                           United        Online News Sites & Other    Multicultural &              1,320 [1]
                  Online  View Release                                  States        Influencers                  Demographic           visitors/month




Eastern           Eastern Progress, Richmond, Kentucky                   United        Newspaper                    Media & Information          1,079 [1]
Progress,         Online  View Release                                  States                                                           visitors/month
Richmond,
Kentucky


                  Buenos Dias Nebraska                                   United        Online News Sites & Other    Multicultural &                931 [1]
                  Online  View Release                                  States        Influencers                  Demographic           visitors/month




                  BocaLista                                              Puerto Rico   Online News Sites & Other    Multicultural &                704 [1]
                  Online  View Release                                                Influencers                  Demographic           visitors/month




                  Univision Kansas City                                  United        Broadcast Media              Multicultural &                683 [1]
                  Online  View Release                                  States                                     Demographic           visitors/month




                  La Familia de Broward                                  United        Magazine                     Multicultural &                618 [1]
                  Online  View Release                                  States                                     Demographic           visitors/month




                  SEGUROS, SALUD, PENSIONES & SEGURIDAD                  United        Online News Sites & Other    Multicultural &                548 [1]
                  Online  View Release                                  States        Influencers                  Demographic           visitors/month




                  La Prensa Hispana                                      United        Newspaper                    Multicultural &                477 [1]
                  Online  View Release                                  States                                     Demographic           visitors/month




                  Vida Nueva                                             United        Newspaper                    Multicultural &                475 [1]
                  Online  View Release                                  States                                     Demographic           visitors/month




                  WZZS-FM 106.9 La Número Uno / WTMY-AM 1280 La Número   United        Broadcast Media              Multicultural &                408 [1]
                  Uno                                                    States                                     Demographic           visitors/month
                  Online  View Release


                  Univision Minnesota                                    United        Broadcast Media              Multicultural &                330 [1]
                  Online  View Release                                  States                                     Demographic           visitors/month




                  Ahora News (New Jersey)                                United        Newspaper                    Multicultural &                318 [1]
                  Online  View Release                                  States                                     Demographic           visitors/month




                  Univision Canada                                       Canada        Broadcast Media              Multicultural &                315 [1]
                  Online  View Release                                                                             Demographic           visitors/month




                  Mi Ciudad Tampa Bay                                    United        Online News Sites & Other    Multicultural &                292 [1]
                  Online  View Release                                  States        Influencers                  Demographic           visitors/month




                  La Voz Hispanic News [Pasco, WA]                       United        Newspaper                    Multicultural &                280 [1]
                  Online  View Release                                  States                                     Demographic           visitors/month




                  West Virginia Latino News                              United        News & Information Service   Multicultural &                277 [1]
                  Online  View Release                                  States                                     Demographic           visitors/month




                  New York Latino News                                   United        News & Information Service   Multicultural &                277 [1]
                  Online  View Release                                  States                                     Demographic           visitors/month
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   New Jersey Latino News                                 United   News & Information Service   Multicultural &            277 [1]
   Online  View Release                                  States                                Demographic       visitors/month




   West Virginia Latino News                              United   News & Information Service   Multicultural &            277 [1]
   Online  View Release                                  States                                Demographic       visitors/month




   El Perico                                              United   Online News Sites & Other    Multicultural &            260 [1]
   Online  View Release                                  States   Influencers                  Demographic       visitors/month




   Montana Latino News                                    United   News & Information Service   Multicultural &            243 [1]
   Online  View Release                                  States                                Demographic       visitors/month




   Pennsylvania Latino News                               United   News & Information Service   Multicultural &            232 [1]
   Online  View Release                                  States                                Demographic       visitors/month




   Energía, Industria, Comercio y Minería                 United   Online News Sites & Other    Multicultural &            231 [1]
   Online  View Release                                  States   Influencers                  Demographic       visitors/month




   Ismael Cala Foundation                                 United   Online News Sites & Other    Multicultural &            226 [1]
   Online  View Release                                  States   Influencers                  Demographic       visitors/month




   Gaby Natale                                            United   Online News Sites & Other    Multicultural &            222 [1]
   Online  View Release                                  States   Influencers                  Demographic       visitors/month




   El Colombiano                                          United   Newspaper                    Multicultural &            220 [1]
   Online  View Release                                  States                                Demographic       visitors/month




   Prensa Mexicana                                        United   Newspaper                    Multicultural &            206 [1]
   Online  View Release                                  States                                Demographic       visitors/month




   Connecticut Hispano News                               United   News & Information Service   Multicultural &            206 [1]
   Online  View Release                                  States                                Demographic       visitors/month




   Hispanic PR Wire                                       United   Online News Sites & Other    Multicultural &            205 [1]
   Online  View Release                                  States   Influencers                  Demographic       visitors/month




   Washington Latino News                                 United   News & Information Service   Multicultural &            162 [1]
   Online  View Release                                  States                                Demographic       visitors/month




   Massachusetts Hispano News                             United   News & Information Service   Multicultural &            151 [1]
   Online  View Release                                  States                                Demographic       visitors/month




   Transporte, Logística & Comercio Internacional         United   Newspaper                    Multicultural &            148 [1]
   Online  View Release                                  States                                Demographic       visitors/month




   Hoy en Delaware                                        United   Newspaper                    Multicultural &            148 [1]
   Online  View Release                                  States                                Demographic       visitors/month




   TeleNews                                               United   Online News Sites & Other    Multicultural &            111 [1]
   Online  View Release                                  States   Influencers                  Demographic       visitors/month




   Show Continental                                       United   Online News Sites & Other    Multicultural &            111 [1]
   Online  View Release                                  States   Influencers                  Demographic       visitors/month




   Delaware Latino News                                   United   News & Information Service   Multicultural &            105 [1]
   Online  View Release                                  States                                Demographic       visitors/month
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                ChicaNOL                                             United     Blog                         Multicultural &                103 [1]
                Online  View Release                                States                                  Demographic           visitors/month




                Geovanny Vicente Romero                              United     Blog                         Multicultural &                 71 [1]
                Online  View Release                                States                                  Demographic           visitors/month




                Vermont Latino News                                  United     News & Information Service   Multicultural &       Not Available
                Online  View Release                                States                                  Demographic




                SuperLatina TV                                       United     Blog                         Multicultural &       Not Available
                Online  View Release                                States                                  Demographic




                Rhode Island Hispano News                            United     News & Information Service   Multicultural &       Not Available
                Online  View Release                                States                                  Demographic




                Maine Latino News                                    United     News & Information Service   Multicultural &       Not Available
                Online  View Release                                States                                  Demographic




                Kentucky Latino News                                 United     News & Information Service   Multicultural &       Not Available
                Online  View Release                                States                                  Demographic




                Revista MUJERES Internacional                        United     Magazine                     Multicultural &       Not Available
                Online  View Release                                States                                  Demographic




                                            [2] Alexa, [3] siteworthtraffic.com [4] Cision Digital
*Data sources: [1]                          Reach
*The data cited here by SimilarWeb represents site traffic data of worldwide unique visitors on desktop and mobile devices. Data is updated
monthly.
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             Exhibit K
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                           Exclusion List
                 Count     First Initial    Last Name
                   1            C          Natalie
                   2            M          Ujevich
                   3            K          Ford
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